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                     B<8A43 @A0A4@ 38@A?82A 2=B?A
                        38@A?82A =5 <4D 94?@4E

 ;GQ =B;H* LM?O?H P;>?* TaW             Hb,8 08/4+Vi+.7057+ELB+=FP
 LBNH@?HA =B?HA*
 CH>COC>N;FFQ ;H> IH <?B;F@
 I@ ;FF IMB?KL LCGCF;KFQ
 LCMN;M?>*

       J_T\ag\YYf*

       i,

 H?P IKC?HM;F ?>N=;MCIH '
 M?=BHIFIAQ AKINJ CH=,* TaW
 =B?HAA;HA RBIN*

       >XYXaWTagf,


                      @A8>B:0A8=< =5 @4AA:4;4<A
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 2 of 43 PageID: 1515




               M[\f Lg\ch_Tg\ba bY LXgg_X`Xag WTgXW Tf bY DhaX /* 0.0.

 (pLg\ch_Tg\baq)* \f `TWX TaW XagXeXW \agb Ul TaW T`baZ8 (\) FXTW J_T\ag\YYf ;`l

 =[Ta* LgXiXa PTWX* L[haYXaZ =[XaZ* TaW ?_Uhea Ce\f[ (gbZXg[Xe* pFXTW

 J_T\ag\YYfq) ba UX[T_Y bY g[X`fX_iXf TaW XTV[ bY g[X =_Tff GX`UXef* Ul TaW

 g[ebhZ[ g[X\e VbhafX_ bY eXVbeW \a g[X F\g\ZTg\ba9 TaW (\\) >XYXaWTagf HXj Ie\XagT_

 ?WhVTg\ba TaW MXV[ab_bZl Aebhc* CaV, (pHXj Ie\XagT_q) TaW =[XaZZTaZ R[bh

 (j\g[ HXj Ie\XagT_* p>XYXaWTagfq) Ul TaW g[ebhZ[ g[X\e VbhafX_ bY eXVbeW \a g[X

 F\g\ZTg\ba,    M[X Lg\ch_Tg\ba \f \agXaWXW gb Yh__l* Y\aT__l* TaW YbeXiXe eXfb_iX*

 W\fV[TeZX* TaW fXgg_X g[X KX_XTfXW =_T\`f* fhU]XVg gb g[X TccebiT_ bY g[X =bheg TaW

 g[X gXe`f TaW VbaW\g\baf fXg Ybeg[ \a g[\f Lg\ch_Tg\ba,/

 8'     A74 :8A860A8=<

               M[\f \f T YXWXeT_ fXVhe\g\Xf V_Tff TVg\ba ba UX[T_Y bY g[X =_Tff, @be

 checbfXf bY g[\f LXgg_X`Xag ba_l* g[X =_Tff \f WXY\aXW \a n CO,/ [XeX\a* TaW g[X

 LXgg_\aZ JTeg\Xf \agXaW g[Tg g[X cebi\f\baf [XeX\a VbaVXea\aZ VXeg\Y\VTg\ba bY g[X

 =_Tff f[T__ [TiX ab XYYXVg j[TgfbXiXe \a g[X XiXag g[Tg g[X LXgg_X`Xag WbXf abg

 UXVb`X @\aT_,

        ('     2SQQJRHJQJRW SK WMJ :NWNLFWNSR FRI 0TTSNRWQJRW SK WMJ :JFI
               >PFNRWNKKV



 /
  ;__ VTc\gT_\mXW gXe`f abg bg[Xej\fX WXY\aXW f[T__ [TiX g[X `XTa\aZf TfVe\UXW gb g[X` \a n CO,/
 [XeX\a,
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 3 of 43 PageID: 1516




              M[X F\g\ZTg\ba \f cXaW\aZ UXYbeX g[X BbabeTU_X ETg[Xe\aX L, BTlWXa

 \a g[X Na\gXW LgTgXf >\fge\Vg =bheg Ybe g[X >\fge\Vg bY HXj DXefXl, ;a \a\g\T_

 Vb`c_T\ag jTf Y\_XW ba >XVX`UXe /3* 0./4, M[X FXTW J_T\ag\YYf jXeX ]b\ag_l

 Tccb\agXW _XTW c_T\ag\YYf ba GTeV[ 1.* 0./5,

       )'     AMJ >PJFINRLV

              M[X FXTW J_T\ag\YYf Y\_XW Ta T`XaWXW Vb`c_T\ag ba GTl 1.* 0./5,

 >XYXaWTagf `biXW gb W\f`\ff g[X =b`c_T\ag* TaW g[X `bg\ba jTf Yh__l Ue\XYXW Tf

 bY IVgbUXe 1.* 0./5, Ia Dh_l 1* 0./7* DhWZX BTlWXa ZeTagXW >XYXaWTagfr Gbg\ba

 gb >\f`\ff, FXTW J_T\ag\YYf Y\_XW T LXVbaW ;`XaWXW =b`c_T\ag ba ;hZhfg /7*

 0./7, >XYXaWTagf `biXW gb W\f`\ff g[X LXVbaW ;`XaWXW =b`c_T\ag* TaW g[X

 `bg\ba jTf Yh__l Ue\XYXW Tf bY IVgbUXe 0/* 0./7, M[X `bg\ba gb W\f`\ff g[X

 LXVbaW ;`XaWXW =b`c_T\ag eX`T\af ;=- 4=/3.0$

       *'     @JWWPJQJRW <JLSWNFWNSRV

              Ca GTeV[ 0./7* g[X LXgg_\aZ JTeg\Xf cTeg\V\cTgXW \a T `XW\Tg\ba j\g[

 g[X Tff\fgTaVX bY Ge, KbUXeg ;, GXlXe ?fd, M[X LXgg_\aZ JTeg\Xf W\W abg eXTV[ Ta

 TZeXX`Xag gb fXgg_X g[X _\g\ZTg\ba Tg g[Tg g\`X Uhg Vbag\ahXW gb VbaYXe cXe\bW\VT__l gb

 W\fVhff cbgXag\T_ fXgg_X`Xag bY g[X F\g\ZTg\ba, ;YgXe XkgXaWXW aXZbg\Tg\baf* g[X

 LXgg_\aZ JTeg\Xf TZeXXW gb g[X gXe`f TaW VbaW\g\baf fXg Ybeg[ \a g[\f Lg\ch_Tg\ba,




                                            0
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 4 of 43 PageID: 1517




 88'    :403 >:08<A855@] 2:08;@ 0<3 A74 14<458A@ =5 A74
        @4AA:4;4<A

              M[X FXTW J_T\ag\YYf UX_\XiX g[Tg g[X V_T\`f TffXegXW \a g[X F\g\ZTg\ba

 [TiX `Xe\g TaW g[Tg g[X Xi\WXaVX WXiX_bcXW gb WTgX fhccbegf g[X V_T\`f, BbjXiXe*

 g[X FXTW J_T\ag\YYf TaW g[X\e VbhafX_ eXVbZa\mX TaW TV^abj_XWZX g[X XkcXafX TaW

 _XaZg[ bY Vbag\ahXW cebVXXW\aZf aXVXffTel gb cebfXVhgX g[X F\g\ZTg\ba TZT\afg

 >XYXaWTagf g[ebhZ[ V_Tff VXeg\Y\VTg\ba* ge\T_* TaW TccXT_f, M[X FXTW J_T\ag\YYf TaW

 g[X\e VbhafX_ [TiX T_fb gT^Xa \agb TVVbhag g[X haVXegT\a bhgVb`X TaW g[X e\f^ bY

 Tal _\g\ZTg\ba* XfcXV\T__l \a Vb`c_Xk TVg\baf fhV[ Tf g[\f F\g\ZTg\ba* Tf jX__ Tf g[X

 W\YY\Vh_g\Xf TaW WX_Tlf \a[XeXag \a fhV[ _\g\ZTg\ba, M[X FXTW J_T\ag\YYf TaW g[X\e

 VbhafX_ T_fb TeX `\aWYh_ bY g[X \a[XeXag cebU_X`f bY cebbY gb cebfXVhgX* TaW bY

 cbff\U_X WXYXafXf gb* g[X fXVhe\g\Xf _Tj i\b_Tg\baf TffXegXW \a g[X F\g\ZTg\ba, M[X

 FXTW J_T\ag\YYf TaW g[X\e VbhafX_ UX_\XiX g[Tg g[X LXgg_X`Xag fXg Ybeg[ \a g[X

 Lg\ch_Tg\ba VbaYXef fhUfgTag\T_ UXaXY\gf hcba g[X =_Tff, <TfXW ba g[X\e XiT_hTg\ba*

 g[X FXTW J_T\ag\YYf TaW g[X\e VbhafX_ [TiX WXgXe`\aXW g[Tg g[X LXgg_X`Xag fXg Ybeg[

 \a g[X Lg\ch_Tg\ba \f \a g[X UXfg \agXeXfgf bY g[X FXTW J_T\ag\YYf TaW g[X =_Tff,

 888'   3454<30<A@] 34<80:@ =5 D?=<63=8<6 0<3 :8018:8AE

              >XYXaWTagf [TiX WXa\XW* TaW Vbag\ahX gb WXal* g[Tg g[Xl [TiX

 Vb``\ggXW Tal TVg be b`\ff\ba Z\i\aZ e\fX gb Tal _\TU\_\gl be i\b_Tg\ba bY g[X _Tj,

 LcXV\Y\VT__l* >XYXaWTagf [TiX WXa\XW* TaW Vbag\ahX gb WXal* XTV[ TaW T__ bY g[X

 V_T\`f TaW VbagXag\baf T__XZXW Ul g[X FXTW J_T\ag\YYf \a g[X F\g\ZTg\ba* T_baZ j\g[

                                             1
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 5 of 43 PageID: 1518




 T__ bY g[X V[TeZXf bY jebaZWb\aZ be _\TU\_\gl TZT\afg g[X` Te\f\aZ bhg bY Tal bY g[X

 VbaWhVg* fgTgX`Xagf* TVgf* be b`\ff\baf T__XZXW* be g[Tg Vbh_W [TiX UXXa T__XZXW* \a

 g[X F\g\ZTg\ba, >XYXaWTagf Yheg[Xe [TiX WXa\XW* TaW Vbag\ahX gb WXal* g[Tg g[X FXTW

 J_T\ag\YYf fhYYXeXW Tal WT`TZXf be jXeX [Te`XW Ul g[X VbaWhVg T__XZXW \a g[X

 F\g\ZTg\ba, >XYXaWTagf [TiX TffXegXW* TaW Vbag\ahX gb TffXeg* g[Tg g[X\e VbaWhVg jTf

 Tg T__ g\`Xf cebcXe TaW \a Vb`c_\TaVX j\g[ T__ Tcc_\VTU_X cebi\f\baf bY _Tj, Ca

 TWW\g\ba* >XYXaWTagf `T\agT\a g[Tg g[Xl [TiX `Xe\gbe\bhf WXYXafXf gb T__ bY g[X

 V_T\`f T__XZXW \a g[X F\g\ZTg\ba,

              ;f fXg Ybeg[ UX_bj* aX\g[Xe g[X LXgg_X`Xag abe Tal bY g[X gXe`f bY g[\f

 Lg\ch_Tg\ba f[T__ UX VbafgehXW be WXX`XW gb UX Xi\WXaVX bY be Vbafg\ghgX Ta

 TW`\ff\ba be Y\aW\aZ bY Tal YTh_g* _\TU\_\gl* jebaZWb\aZ* be WT`TZX j[TgfbXiXe* be

 Tal \aY\e`\gl \a g[X WXYXafXf g[Tg >XYXaWTagf [TiX* be Vbh_W [TiX* TffXegXW \a g[X

 F\g\ZTg\ba, >XYXaWTagf TeX XagXe\aZ \agb g[\f Lg\ch_Tg\ba fb_X_l gb X_\`\aTgX g[X

 UheWXa TaW XkcXafX bY Yheg[Xe _\g\ZTg\ba, >XYXaWTagf [TiX WXgXe`\aXW g[Tg \g \f

 WXf\eTU_X TaW UXaXY\V\T_ gb g[X` g[Tg g[X F\g\ZTg\ba UX fXgg_XW \a g[X `TaaXe TaW

 hcba g[X gXe`f TaW VbaW\g\baf fXg Ybeg[ \a g[X Lg\ch_Tg\ba,

 8C'   A4?;@ =5 @A8>B:0A8=< 0<3 06?44;4<A =5 @4AA:4;4<A
              Hbj* g[XeXYbeX* \g \f [XeXUl fg\ch_TgXW TaW TZeXXW Ul TaW T`baZ g[X

 FXTW J_T\ag\YYf (Ybe g[X`fX_iXf TaW ba UX[T_Y bY g[X =_Tff GX`UXef) TaW

 >XYXaWTagf* Ul TaW g[ebhZ[ g[X\e eXfcXVg\iX VbhafX_ be TggbeaXlf bY eXVbeW* g[Tg*


                                           2
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 6 of 43 PageID: 1519




 fhU]XVg gb g[X TccebiT_ bY g[X =bheg chefhTag gb Kh_X 01(X) bY g[X @XWXeT_ Kh_Xf bY

 =\i\_ JebVXWheX* \a Vbaf\WXeTg\ba bY g[X UXaXY\gf Y_bj\aZ gb g[X LXgg_\aZ JTeg\Xf

 Yeb` g[X LXgg_X`Xag* g[X F\g\ZTg\ba TaW KX_XTfXW =_T\`f f[T__ UX Y\aT__l TaW Yh__l

 Vb`ceb`\fXW* fXgg_XW* TaW eX_XTfXW* TaW g[X F\g\ZTg\ba f[T__ UX W\f`\ffXW j\g[

 ceX]hW\VX* Tf gb T__ LXgg_\aZ JTeg\Xf* hcba TaW fhU]XVg gb g[X gXe`f TaW VbaW\g\baf bY

 g[X Lg\ch_Tg\ba* Tf Yb__bjf8

       ('     3JKNRNWNSRV

              ;f hfXW \a g[X Lg\ch_Tg\ba TaW \gf ?k[\U\gf* g[X Yb__bj\aZ gXe`f f[T__

 [TiX g[X `XTa\aZf fcXV\Y\XW UX_bj, MXe`f hfXW \a g[X f\aZh_Te f[T__ UX WXX`XW gb

 \aV_hWX g[X c_heT_ TaW i\VX iXefT,

       /,/    p;hg[be\mXW =_T\`Tagq `XTaf Tal =_Tff GX`UXe j[bfX V_T\` Ybe

 eXVbiXel \f T__bjXW chefhTag gb g[X gXe`f bY g[X Lg\ch_Tg\ba,


       /,0     p=_T\`f ;W`\a\fgeTgbeq `XTaf LgeTgXZ\V =_T\`f LXei\VXf,


       /,1    p=_Tffq `XTaf T__ JXefbaf j[b cheV[TfXW be bg[Xej\fX TVdh\eXW

 ;`Xe\VTa >Xcbf\gTel L[TeXf (p;>Lfq) bY HXj Ie\XagT_ Whe\aZ g[X =_Tff JXe\bW,

 ?kV_hWXW Yeb` g[X =_Tff TeX >XYXaWTagf [XeX\a* VheeXag TaW Ybe`Xe bYY\VXef TaW

 W\eXVgbef bY HXj Ie\XagT_* TaW `X`UXef bY g[X\e \``XW\TgX YT`\_\Xf9 Tal Xag\gl \a

 j[\V[ >XYXaWTagf [TiX be [TW T Vbageb__\aZ \agXeXfg9 TaW g[X _XZT_ eXceXfXagTg\iXf*

 [X\ef* fhVVXffbef* TaW Tff\Zaf bY Tal fhV[ XkV_hWXW cXefba be Xag\gl, ;_fb XkV_hWXW


                                           3
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 7 of 43 PageID: 1520




 Yeb` g[X =_Tff TeX g[bfX JXefbaf j[b g\`X_l TaW iT_\W_l eXdhXfg XkV_hf\ba Yeb` g[X

 =_Tff,


          /,2   p=_Tff GX`UXeq `XTaf Tal JXefba j[b YT__f j\g[\a g[X WXY\a\g\ba bY

 g[X =_Tff Tf fXg Ybeg[ \a o /,1 TUbiX,


          /,3   p=_Tff JXe\bWq `XTaf g[X cXe\bW Yeb` LXcgX`UXe 06* 0./4 g[ebhZ[

 >XVX`UXe /* 0./4* \aV_hf\iX,


          /,4   pFXTW J_T\ag\YYfq `XTaf ;`l =[Ta* LgXiXa PTWX* L[haYXaZ =[XaZ*

 TaW ?_Uhea Ce\f[,


          /,5   p=bhegq `XTaf g[X Na\gXW LgTgXf >\fge\Vg =bheg Ybe g[X >\fge\Vg bY HXj

 DXefXl,


          /,6   p>XYXaWTagfr =_T\`fq `XTaf Tal TaW T__ V_T\`f TaW VThfXf bY TVg\ba

 bY XiXel aTgheX TaW WXfVe\cg\ba (\aV_hW\aZ Na^abja =_T\`f) j[Xg[Xe Te\f\aZ haWXe

 YXWXeT_* fgTgX* Vb``ba be YbeX\Za _Tj* g[Tg [TiX UXXa be Vbh_W [TiX UXXa TffXegXW

 \a g[X F\g\ZTg\ba be Tal Ybeh` Ul g[X KX_XTfXW JXefbaf be Tal bY g[X` TZT\afg g[X

 FXTW J_T\ag\YYf* g[X =_Tff GX`UXef* TaW g[X FXTW J_T\ag\YYfr VbhafX_* j[\V[ Te\fX

 bhg bY be TeX eX_TgXW \a Tal jTl gb g[X \afg\ghg\ba* cebfXVhg\ba* be fXgg_X`Xag bY g[X

 F\g\ZTg\ba, >XYXaWTagfr =_T\`f Wb abg \aV_hWX V_T\`f gb XaYbeVX g[\f Lg\ch_Tg\ba be

 Tal beWXe bY g[X =bheg \a g[X F\g\ZTg\ba,


                                             4
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       /,7    p?YYXVg\iX >TgXq be g[X WTgX hcba j[\V[ g[\f LXgg_X`Xag UXVb`Xf

 pXYYXVg\iX*q `XTaf g[eXX (1) Uhf\aXff WTlf TYgXe g[X WTgX Ul j[\V[ T__ bY g[X XiXagf

 TaW VbaW\g\baf fcXV\Y\XW \a o 5,/ [XeX\a [TiX UXXa `Xg TaW [TiX bVVheeXW,


       /,/. p?fVebj ;VVbhagq `XTaf g[X TVVbhag VbagT\a\aZ g[X LXgg_X`Xag @haW*

 WXfVe\UXW \a o 0,/ [XeX\a,


       /,// p?fVebj ;ZXagq `XTaf Bhag\aZgba HTg\baT_ <Ta^,


       /,/0 p@XX TaW ?kcXafX ;cc_\VTg\baq `XTaf g[X Tcc_\VTg\ba(f) Ybe Ta TjTeW

 bY TggbeaXlfr YXXf TaW XkcXafXf gb g[X FXTW J_T\ag\YYfr VbhafX_ WXfVe\UXW \a o 4,/

 [XeX\a,


       /,/1 p@XX TaW ?kcXafX ;jTeWq `XTaf g[X TjTeW bY TggbeaXlfr YXXf TaW

 XkcXafXf gb g[X FXTW J_T\ag\YYfr VbhafX_ WXfVe\UXW \a o 3,0 [XeX\a,


       /,/2 p@\aT_q `XTaf j[Xa g[X _Tfg bY g[X Yb__bj\aZ j\g[ eXfcXVg gb g[X

 DhWZ`Xag Tccebi\aZ g[X Lg\ch_Tg\ba* fhUfgTag\T__l \a g[X Ybe` bY ?k[\U\g < TggTV[XW

 [XeXgb* f[T__ bVVhe8 (\) g[X Xkc\eTg\ba bY g[X g\`X gb Y\_X Tal `bg\ba gb T_gXe be

 T`XaW g[X DhWZ`Xag haWXe @XWXeT_ Kh_X bY =\i\_ JebVXWheX 37(X) j\g[bhg Tal fhV[

 `bg\ba [Ti\aZ UXXa Y\_XW9 (\\) g[X Xkc\eTg\ba bY g[X g\`X gb TccXT_ Yeb` g[X

 DhWZ`Xag j\g[bhg Tal fhV[ TccXT_ [Ti\aZ UXXa Y\_XW9 TaW (\\\) \Y T `bg\ba gb T_gXe

 be T`XaW be Ta TccXT_ \f Y\_XW* \``XW\TgX_l TYgXe g[X WXgXe`\aTg\ba bY g[Tg `bg\ba


                                           5
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 be TccXT_ fb g[Tg g[X DhWZ`Xag \f ab _baZXe fhU]XVg gb Tal Yheg[Xe ]hW\V\T_ eXi\Xj be

 TccXT_ j[TgfbXiXe* j[Xg[Xe Ul eXTfba bY TYY\e`TaVX Ul T Vbheg bY _Tfg eXfbeg* _TcfX

 bY g\`X* ib_hagTel W\f`\ffT_ bY TccXT_* be bg[Xej\fX* TaW \a fhV[ T `TaaXe Tf gb

 cXe`\g g[X Vbafh``Tg\ba bY g[X LXgg_X`Xag fhUfgTag\T__l \a TVVbeWTaVX j\g[ g[X

 gXe`f TaW VbaW\g\baf bY g[\f Lg\ch_Tg\ba,        @be checbfXf bY g[\f cTeTZeTc[* Ta

 pTccXT_q f[T__ \aV_hWX Tal cXg\g\ba Ybe T je\g bY .0:<38:,:3 be bg[Xe je\g g[Tg `Tl UX

 Y\_XW \a VbaaXVg\ba j\g[ g[X TccebiT_ be W\fTccebiT_ bY g[\f LXgg_X`Xag* Uhg f[T__

 abg \aV_hWX Tal TccXT_ j[\V[ VbaVXeaf ba_l g[X \ffhX bY g[X FXTW J_T\ag\YYfr

 VbhafX_rf TggbeaXlfr YXXf TaW XkcXafXf* cTl`Xagf gb g[X FXTW J_T\ag\YYf Ybe g[X\e

 XkcXafXf* g[X J_Ta bY ;__bVTg\ba bY g[X LXgg_X`Xag @haW* be g[X cebVXWheXf Ybe

 WXgXe`\a\aZ ;hg[be\mXW =_T\`Tagfr eXVbZa\mXW V_T\`f,


       /,/3    pDhWZ`Xagq `XTaf g[X @\aT_ DhWZ`Xag TaW IeWXe bY >\f`\ffT_ j\g[

 JeX]hW\VX gb UX eXaWXeXW Ul g[X =bheg* fhUfgTag\T__l \a g[X Ybe` TggTV[XW [XeXgb Tf

 ?k[\U\g <* Tf jX__ Tf Tal Ybe` bY Y\aT_ ]hWZ`Xag g[Tg `Tl UX XagXeXW Ul g[X =bheg

 \a T Ybe` bg[Xe g[Ta g[X Ybe` TggTV[XW [XeXgb Tf ?k[\U\g < TaW j[XeX abaX bY g[X

 LXgg_\aZ JTeg\Xf X_XVgf gb gXe`\aTgX g[\f LXgg_X`Xag Ul eXTfba bY fhV[ iTe\TaVX*

 Vbaf\fgXag j\g[ g[X gXe`f bY g[\f Lg\ch_Tg\ba,


       /,/4 pFXTW =bhafX_q `XTaf g[X _Tj Y\e`f M[X KbfXa FTj @\e`* J,;, TaW

 Jb`XeTagm FFJ be g[X\e fhVVXffbef,


                                            6
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 10 of 43 PageID: 1523




        /,/5 pF\g\ZTg\baq `XTaf g[X TVg\ba VTcg\baXW %2,7 >$ )0? *:307<,5

  &/=.,<387 " +0.278581@ ':8=9# (7.$# 0< ,5$* =TfX Hb, 08/4+Vi+.7057+ELB+=FP

  (>,H,D,),


        /,/6 pHXg LXgg_X`Xag @haWq `XTaf g[X aXg fXgg_X`Xag YhaW WXfVe\UXW \a o

  3,0 [XeX\a,


        /,/7 pHbg\VXq `XTaf g[X pHbg\VX bY JXaWXaVl TaW JebcbfXW LXgg_X`Xag bY

  =_Tff ;Vg\ba*q j[\V[ \f gb UX fXag gb LXgg_X`Xag =_Tff GX`UXef fhUfgTag\T__l \a g[X

  Ybe` TggTV[XW [XeXgb Tf ?k[\U\g ;+/,


        /,0.    pHbg\VX TaW ;W`\a\fgeTg\ba ?kcXafXfq `XTaf T__ Vbfgf TaW XkcXafXf

  TffbV\TgXW j\g[ cebi\W\aZ abg\VX bY g[X LXgg_X`Xag gb g[X LXgg_X`Xag =_Tff TaW

  bg[Xej\fX TW`\a\fgXe\aZ be VTeel\aZ bhg g[X gXe`f bY g[X LXgg_X`Xag, LhV[ Vbfgf

  `Tl \aV_hWX* j\g[bhg _\`\gTg\ba8 XfVebj TZXag Vbfgf* g[X Vbfgf bY chU_\f[\aZ g[X

  Lh``Tel Hbg\VX* g[X Vbfgf bY ce\ag\aZ TaW `T\_\aZ g[X Hbg\VX TaW JebbY bY =_T\`*

  Tf W\eXVgXW Ul g[X =bheg* TaW g[X Vbfgf bY T__bVTg\aZ TaW W\fge\Uhg\aZ g[X HXg

  LXgg_X`Xag @haW gb g[X ;hg[be\mXW =_T\`Tagf, LhV[ Vbfgf Wb abg \aV_hWX _XZT_ YXXf

  TaW XkcXafXf,


        /,0/    pJXefbaq `XTaf Ta \aW\i\WhT_* VbecbeTg\ba* _\`\gXW _\TU\_\gl

  VbecbeTg\ba* cebYXff\baT_ VbecbeTg\ba* _\`\gXW _\TU\_\gl cTegaXef[\c* cTegaXef[\c*

  _\`\gXW cTegaXef[\c* _\`\gXW _\TU\_\gl Vb`cTal* TffbV\Tg\ba* ]b\ag fgbV^ Vb`cTal*
                                          7
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  XfgTgX* _XZT_ eXceXfXagTg\iX* gehfg* ha\aVbecbeTgXW TffbV\Tg\ba* ZbiXea`Xag be Tal

  cb_\g\VT_ fhUW\i\f\ba be TZXaVl g[XeXbY* TaW Tal Uhf\aXff be _XZT_ Xag\gl TaW g[X\e

  eXfcXVg\iX fcbhfXf* [X\ef* UXaXY\V\Te\Xf* XkXVhgbef* TW`\a\fgeTgbef* ceXWXVXffbef*

  fhVVXffbef* eXceXfXagTg\iXf* be Tff\ZaXXf,


        /,00 pJ_Ta bY ;__bVTg\baq `XTaf T c_Ta be Ybe`h_T bY T__bVTg\ba bY g[X HXg

  LXgg_X`Xag @haW j[XeXUl g[X HXg LXgg_X`Xag @haW f[T__ UX W\fge\UhgXW gb

  ;hg[be\mXW =_T\`Tagf, ;al J_Ta bY ;__bVTg\ba \f abg cTeg bY g[X Lg\ch_Tg\ba TaW

  aX\g[Xe >XYXaWTagf abe g[X\e KX_TgXW JTeg\Xf f[T__ [TiX Tal eXfcbaf\U\_\gl be

  _\TU\_\gl j\g[ eXfcXVg g[XeXgb,


        /,01 pJeX_\`\aTel ;ccebiT_ IeWXeq `XTaf g[X beWXe WXfVe\UXW \a o1,/

  [XeX\a,


        /,02 pKX_TgXW JTeg\Xfq `XTaf XTV[ bY T >XYXaWTagrf eXfcXVg\iX Ybe`Xe*

  ceXfXag* be YhgheX cTeXagf* fhUf\W\Te\Xf* W\i\f\baf TaW TYY\_\TgXf* TaW g[X eXfcXVg\iX

  X`c_blXXf*    `X`UXef* cTegaXef* ce\aV\cT_f* bYY\VXef* W\eXVgbef* Vbageb__\aZ

  f[TeX[b_WXef* TggbeaXlf* TWi\fbef* TVVbhagTagf* ThW\gbef* Vbafh_gTagf* haWXeje\gXef*

  \aiXfg`Xag UTa^Xef* Vb``XeV\T_ UTa^Xef* Xag\g\Xf cebi\W\aZ YT\eaXff bc\a\baf*

  ZXaXeT_ be _\`\gXW cTegaXef be cTegaXef[\cf* _\`\gXW _\TU\_\gl Vb`cTa\Xf* `X`UXef*

  ]b\ag iXagheXf* TaW \afheXef TaW eX\afheXef bY XTV[ bY g[X`9 TaW g[X ceXWXVXffbef*

  fhVVXffbef* XfgTgXf* fcbhfXf* [X\ef* XkXVhgbef* gehfgf* gehfgXXf* TW`\a\fgeTgbef*

                                           /.
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  TZXagf* _XZT_ be cXefbaT_ eXceXfXagTg\iXf TaW Tff\Zaf bY XTV[ bY g[X`* \a g[X\e

  VTcTV\gl Tf fhV[,


        /,03 pKX_XTfXW =_T\`fq `XTaf Tal TaW T__ V_T\`f TaW VThfXf bY TVg\ba bY

  XiXel aTgheX TaW WXfVe\cg\ba (\aV_hW\aZ Na^abja =_T\`f) j[Xg[Xe Te\f\aZ haWXe

  YXWXeT_* fgTgX* Vb``ba* be YbeX\Za _Tj* j[Xg[Xe V_Tff be \aW\i\WhT_ \a aTgheX* g[Tg

  g[X FXTW J_T\ag\YYf be Tal =_Tff GX`UXe TffXegXW be Vbh_W [TiX TffXegXW TZT\afg

  Tal JXefba \a g[X F\g\ZTg\ba be Tal bg[Xe Ybeh`* j[\V[ (\) jXeX TffXegXW \a Tal

  =b`c_T\ag Y\_XW \a g[X F\g\ZTg\ba* be (\\) Vbh_W [TiX UXXa TffXegXW be Vbh_W \a g[X

  YhgheX UX TffXegXW \a Tal Vbheg be Ybeh` g[Tg Te\fX bhg bY be eX_TgX gb Tal bY g[X

  T__XZTg\baf* geTafTVg\baf* YTVgf* `TggXef* be bVVheeXaVXf* eXceXfXagTg\baf* be

  b`\ff\baf \aib_iXW* fXg Ybeg[* be eXYXeeXW gb \a Tal Vb`c_T\ag Y\_XW \a g[X F\g\ZTg\ba

  TaW g[Tg Te\fX Yeb` g[X cheV[TfX be bg[Xe TVdh\f\g\ba bY HXj Ie\XagT_rf ;>Lf

  Whe\aZ g[X =_Tff JXe\bW, KX_XTfXW =_T\`f Wb abg \aV_hWX V_T\`f gb XaYbeVX g[\f

  Lg\ch_Tg\ba,


        /,04 pKX_XTfXW JXefbafq `XTaf XTV[ TaW T__ bY >XYXaWTagf TaW XTV[ TaW

  T__ bY g[X\e KX_TgXW JTeg\Xf,


        /,05 pLXgg_X`Xagq `XTaf g[X fXgg_X`Xag bY g[X F\g\ZTg\ba Tf fXg Ybeg[ \a g[\f

  Lg\ch_Tg\ba,




                                           //
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         /,06 pLXgg_X`Xag ;`bhagq `XTaf M[eXX G\__\ba IaX BhaWeXW TaW @\Ygl

  M[bhfTaW Na\gXW LTgXf >b__Tef (NL&1*/3.*...,..) \a VTf[ gb UX cT\W gb g[X ?fVebj

  ;ZXag chefhTag gb o 0,/ bY g[\f Lg\ch_Tg\ba,


         /,07 pLXgg_X`Xag @haWq `XTaf Ta \agXeXfg+UXTe\aZ XfVebj TVVbhag

  XfgTU_\f[XW Ul g[X ?fVebj ;ZXag gb eXVX\iX g[X T`bhagf bY YhaWf cTlTU_X chefhTag

  gb o 0,/,


         /,1. pLXgg_X`Xag BXTe\aZq `XTaf g[X [XTe\aZ eXdh\eXW Ul @XWXeT_ Kh_X bY

  =\i\_ JebVXWheX 01(X)* Tg j[\V[ g\`X g[X LXgg_\aZ JTeg\Xf j\__ eXdhXfg g[Tg g[X =bheg

  TccebiX g[X YT\eaXff* eXTfbaTU_XaXff* TaW TWXdhTVl bY g[X cebcbfXW LXgg_X`Xag

  X`UbW\XW Ul g[\f Lg\ch_Tg\ba TaW XagXe g[X DhWZ`Xag, FXTW =bhafX_ j\__ T_fb

  eXdhXfg g[Tg g[X =bheg TccebiX g[X J_Ta bY ;__bVTg\ba TaW g[X @XX TaW ?kcXafX

  ;cc_\VTg\ba,


         /,1/ pLXgg_\aZ JTeg\Xfq `XTaf* Vb__XVg\iX_l* XTV[ bY >XYXaWTagf TaW g[X

  FXTW J_T\ag\YYf ba UX[T_Y bY g[X`fX_iXf TaW XTV[ bY g[X =_Tff GX`UXef,


         /,10 pLhcc_X`XagT_ ;ZeXX`Xagq `XTaf g[X fhcc_X`XagT_ TZeXX`Xag

  UXgjXXa g[X LXgg_\aZ JTeg\Xf WXfVe\UXW \a o 5,2 [XeX\a,


         /,11 pMTkXfq `XTaf Tal TaW T__ gTkXf* YXXf* _Xi\Xf* Whg\Xf* gTe\YYf* \`cbfgf*

  TaW bg[Xe V[TeZXf bY Tal ^\aW (gbZXg[Xe j\g[ Tal TaW T__ \agXeXfg* cXaT_g\Xf*


                                            /0
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 14 of 43 PageID: 1527




  TWW\g\baf gb gTk TaW TWW\g\baT_ T`bhagf \`cbfXW j\g[ eXfcXVg g[XeXgb) \`cbfXW Ul

  Tal ZbiXea`XagT_ Thg[be\gl TaW Te\f\aZ j\g[ eXfcXVg gb \aVb`X XTeaXW Ul g[X

  LXgg_X`Xag @haW Tf WXfVe\UXW \a o 0,7,


        /,12 pMTk ?kcXafXfq `XTaf XkcXafXf TaW Vbfgf \aVheeXW \a VbaaXVg\ba

  j\g[ g[X VT_Vh_Tg\ba TaW cTl`Xag bY gTkXf be g[X ceXcTeTg\ba bY gTk eXgheaf TaW

  eX_TgXW WbVh`Xagf \aV_hW\aZ* j\g[bhg _\`\gTg\ba* XkcXafXf bY gTk TggbeaXlf TaW-be

  TVVbhagTagf TaW `T\_\aZ TaW W\fge\Uhg\ba Vbfgf eX_Tg\aZ gb Y\_\aZ (be YT\_\aZ gb Y\_X)

  g[X eXgheaf WXfVe\UXW \a o 0,7 [XeX\a,


        /,13 pNa^abja =_T\`fq `XTaf (\) Tal KX_XTfXW =_T\`f j[\V[ g[X FXTW

  J_T\ag\YYf be Tal =_Tff GX`UXe Wb abg ^abj be fhfcXVg gb Xk\fg \a [\f* [Xe be \gf

  YTibe Tg g[X g\`X bY g[X eX_XTfX bY g[X KX_XTfXW JXefbaf* j[\V[* \Y ^abja Ul [\`*

  [Xe be \g* `\Z[g [TiX TYYXVgXW [\f* [Xe be \gf fXgg_X`Xag j\g[ TaW eX_XTfX bY g[X

  KX_XTfXW JXefbaf* be `\Z[g [TiX TYYXVgXW [\f* [Xe be \gf WXV\f\ba abg gb bU]XVg gb

  g[\f LXgg_X`Xag be fXX^ XkV_hf\ba Yeb` g[X =_Tff9 TaW (\\) Tal >XYXaWTagfr =_T\`f

  g[Tg Tal >XYXaWTag WbXf abg ^abj be fhfcXVg gb Xk\fg \a [\f* [Xe be \gf YTibe Tg g[X

  g\`X bY g[X eX_XTfX bY g[X FXTW J_T\ag\YYf* g[X =_Tff GX`UXef* TaW g[X FXTW

  J_T\ag\YYfr VbhafX_* j[\V[* \Y ^abja Ul [\`* [Xe be \g `\Z[g [TiX TYYXVgXW [\f* [Xe

  be \gf fXgg_X`Xag j\g[ TaW eX_XTfX bY g[X FXTW J_T\ag\YYf* g[X =_Tff GX`UXef* TaW

  g[X FXTW J_T\ag\YYfr VbhafX_* be `\Z[g [TiX TYYXVgXW [\f* [Xe be \gf WXV\f\ba(f) j\g[


                                           /1
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  eXfcXVg gb g[X LXgg_X`Xag, P\g[ eXfcXVg gb Tal TaW T__ KX_XTfXW =_T\`f TaW

  >XYXaWTagfr =_T\`f* g[X LXgg_\aZ JTeg\Xf fg\ch_TgX TaW TZeXX g[Tg* hcba g[X ?YYXVg\iX

  >TgX* g[X FXTW J_T\ag\YYf TaW >XYXaWTagf f[T__ XkceXff_l jT\iX* TaW XTV[ bY g[X

  =_Tff GX`UXef f[T__ UX WXX`XW gb [TiX* TaW Ul bcXeTg\ba bY g[X DhWZ`Xag f[T__

  [TiX* XkceXff_l jT\iXW Tal TaW T__ cebi\f\baf* e\Z[gf* TaW UXaXY\gf VbaYXeeXW Ul

  =T_\Ybea\T =\i\_ =bWX n/320* j[\V[ cebi\WXf8

        0 LJRJUFP UJPJFVJ ISJV RSW J[WJRI WS HPFNQV WMFW WMJ HUJINWSU SU
        UJPJFVNRL TFUW\ ISJV RSW ORSZ SU VXVTJHW WS J[NVW NR MNV SU MJU
        KFYSU FW WMJ WNQJ SK J[JHXWNRL WMJ UJPJFVJ FRI WMFW& NK ORSZR G\
        MNQ SU MJU& ZSXPI MFYJ QFWJUNFPP\ FKKJHWJI MNV SU MJU VJWWPJQJRW
        ZNWM WMJ IJGWSU SU UJPJFVJI TFUW\'

  M[X FXTW J_T\ag\YYf TaW >XYXaWTagf f[T__ XkceXff_l jT\iX* TaW XTV[ bY g[X =_Tff

  GX`UXef f[T__ UX WXX`XW gb [TiX* TaW Ul bcXeTg\ba bY g[X DhWZ`Xag f[T__ [TiX*

  XkceXff_l jT\iXW Tal TaW T__ cebi\f\baf* e\Z[gf* TaW UXaXY\gf VbaYXeeXW Ul Tal _Tj

  bY Tal fgTgX be gXee\gbel bY g[X Na\gXW LgTgXf* be ce\aV\c_X bY Vb``ba _Tj* j[\V[ \f

  f\`\_Te* Vb`cTeTU_X be Xdh\iT_Xag gb =T_\Ybea\T =\i\_ =bWX n/320, M[X FXTW

  J_T\ag\YYf* >XYXaWTagf TaW =_Tff GX`UXef `Tl [XeXTYgXe W\fVbiXe YTVgf \a TWW\g\ba

  gb be W\YYXeXag Yeb` g[bfX j[\V[ [X* f[X be \g abj ^abjf be UX_\XiXf gb UX gehX j\g[

  eXfcXVg gb g[X fhU]XVg `TggXe bY g[X KX_XTfXW =_T\`f be >XYXaWTagfr =_T\`f* Uhg g[X

  FXTW J_T\ag\YYf f[T__ XkceXff_l* Yh__l* Y\aT__l* TaW YbeXiXe fXgg_X TaW eX_XTfX* TaW

  XTV[ =_Tff GX`UXe* hcba g[X ?YYXVg\iX >TgX* f[T__ UX WXX`XW gb [TiX* TaW Ul

  bcXeTg\ba bY g[X DhWZ`Xag f[T__ [TiX* Yh__l* Y\aT__l* TaW YbeXiXe fXgg_XW TaW


                                           /2
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 16 of 43 PageID: 1529




  eX_XTfXW* Tal TaW T__ KX_XTfXW =_T\`f* TaW >XYXaWTagf f[T__ XkceXff_l* Yh__l*

  Y\aT__l* TaW YbeXiXe fXgg_X TaW eX_XTfX Tal TaW T__ >XYXaWTagfr =_T\`f* \a XTV[ VTfX

  ^abja be ha^abja* fhfcXVgXW be hafhfcXVgXW* Vbag\aZXag be aba+Vbag\aZXag*

  W\fV_bfXW be haW\fV_bfXW* `TgheXW be ha`TgheXW* j[Xg[Xe be abg VbaVXT_XW be

  [\WWXa* j[\V[ abj Xk\fg* be [XeXgbYbeX [TiX Xk\fgXW* hcba Tal g[Xbel bY _Tj be

  Xdh\gl abj Xk\fg\aZ be Vb`\aZ \agb Xk\fgXaVX \a g[X YhgheX* \aV_hW\aZ* Uhg abg

  _\`\gXW gb* VbaWhVg j[\V[ \f aXZ_\ZXag* \agXag\baT_* j\g[ be j\g[bhg `T_\VX* be T

  UeXTV[ bY Tal Whgl* _Tj be eh_X* j\g[bhg eXZTeW gb g[X fhUfXdhXag W\fVbiXel be

  Xk\fgXaVX bY fhV[ W\YYXeXag be TWW\g\baT_ YTVgf, M[X LXgg_\aZ JTeg\Xf TV^abj_XWZX*

  TaW g[X =_Tff GX`UXef f[T__ UX WXX`XW Ul bcXeTg\ba bY g[X DhWZ`Xag gb [TiX

  TV^abj_XWZXW* g[Tg g[X YbeXZb\aZ jT\iXe jTf fXcTeTgX_l UTeZT\aXW Ybe TaW \f T ^Xl

  X_X`Xag bY g[X LXgg_X`Xag bY j[\V[ g[XfX eX_XTfXf TeX T cTeg,


        )'     AMJ @JWWPJQJRW

               F'    AMJ @JWWPJQJRW 0QSXRW
        0,/    Ia be UXYbeX YbhegXXa (/2) VT_XaWTe WTlf TYgXe g[X _TgXe bY8 (\) Xagel bY

  g[X JeX_\`\aTel ;ccebiT_ IeWXe* Tf WXY\aXW \a o 1,/ [XeX\a* TaW (\\) cebi\f\ba gb

  >XYXaWTagf bY T__ \aYbe`Tg\ba aXVXffTel gb XYYXVghTgX T geTafYXe bY YhaWf* \aV_hW\aZ

  g[X UTa^ aT`X TaW ;<; ebhg\aZ ah`UXe* TVVbhag aT`X TaW ah`UXe* TaW T f\ZaXW

  P+7 eXY_XVg\aZ g[X gTkcTlXe \WXag\Y\VTg\ba ah`UXe Ybe g[X LXgg_X`Xag @haW* HXj




                                           /3
Case 2:16-cv-09279-KSH-CLW Document 80 Filed 06/03/20 Page 17 of 43 PageID: 1530




  Ie\XagT_ f[T__ VThfX g[X LXgg_X`Xag ;`bhag gb UX WXcbf\gXW \agb g[X \agXeXfg

  UXTe\aZ LXgg_X`Xag @haW XfVebj TVVbhag Vbageb__XW Ul g[X ?fVebj ;ZXag,


        0,0    HXj Ie\XagT_ f[T__ cTl g[X LXgg_X`Xag ;`bhag ba UX[T_Y bY T__

  >XYXaWTagf, LhV[ T`bhag \f cT\W Tf Vbaf\WXeTg\ba Ybe Yh__ TaW Vb`c_XgX fXgg_X`Xag

  bY T__ KX_XTfXW =_T\`f, Ca g[X XiXag g[Tg g[X Xag\eX LXgg_X`Xag ;`bhag \f abg

  YhaWXW j[Xa WhX* g[X FXTW J_T\ag\YYf f[T__ [TiX g[X e\Z[g gb gXe`\aTgX g[X

  LXgg_X`Xag chefhTag gb o 5,0 [XeX\a,


        0,1    Ig[Xe g[Ta g[X bU_\ZTg\ba bY HXj Ie\XagT_ gb cTl be VThfX gb UX cT\W

  g[X LXgg_X`Xag ;`bhag \agb g[X LXgg_X`Xag @haW* >XYXaWTagf f[T__ [TiX ab

  bU_\ZTg\ba gb `T^X Tal bg[Xe cTl`Xagf chefhTag gb g[\f Lg\ch_Tg\ba XkVXcg Tf

  cebi\WXW \a o 6,2 [XeX\a,


               G'    AMJ 4VHUSZ 0LJRW

        0,2    M[X ?fVebj ;ZXag f[T__ \aiXfg g[X LXgg_X`Xag ;`bhag WXcbf\gXW

  chefhTag gb o 0,/ [XeX\a \a Na\gXW LgTgXf ;ZXaVl be MeXTfhel LXVhe\g\Xf be bg[Xe

  \afgeh`Xagf UTV^XW Ul g[X @h__ @T\g[ ' =eXW\g bY g[X Na\gXW LgTgXf AbiXea`Xag be

  Ta ;ZXaVl g[XeXbY* be Yh__l \afheXW Ul g[X Na\gXW LgTgXf AbiXea`Xag be Ta ;ZXaVl

  g[XeXbY* TaW f[T__ eX\aiXfg g[X cebVXXWf bY g[XfX \afgeh`Xagf Tf g[Xl `TgheX \a

  f\`\_Te \afgeh`Xagf Tg g[X\e g[Xa+VheeXag `Te^Xg eTgXf, ;__ e\f^f eX_TgXW gb g[X

  \aiXfg`Xag bY g[X LXgg_X`Xag @haW \a TVVbeWTaVX j\g[ g[X \aiXfg`Xag Zh\WX_\aXf fXg


                                         /4
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  Ybeg[ \a g[\f cTeTZeTc[ f[T__ UX UbeaX Ul g[X LXgg_X`Xag @haW* TaW g[X KX_XTfXW

  JXefbaf f[T__ [TiX ab eXfcbaf\U\_\gl Ybe* \agXeXfg \a* be _\TU\_\gl j[TgfbXiXe j\g[

  eXfcXVg gb \aiXfg`Xag WXV\f\baf be g[X TVg\baf bY g[X ?fVebj ;ZXag* be Tal

  geTafTVg\baf XkXVhgXW Ul g[X ?fVebj ;ZXag,


        0,3    M[X ?fVebj ;ZXag f[T__ abg W\fUhefX g[X LXgg_X`Xag @haW XkVXcg Tf

  cebi\WXW \a g[X Lg\ch_Tg\ba* Ul Ta beWXe bY g[X =bheg* be j\g[ g[X je\ggXa TZeXX`Xag

  bY VbhafX_ Ybe >XYXaWTagf,


        0,4    LhU]XVg gb Yheg[Xe beWXe(f) TaW-be W\eXVg\baf Tf `Tl UX `TWX Ul g[X

  =bheg* be Tf cebi\WXW \a g[X Lg\ch_Tg\ba* g[X ?fVebj ;ZXag \f Thg[be\mXW gb XkXVhgX

  fhV[ geTafTVg\baf Tf TeX Vbaf\fgXag j\g[ g[X gXe`f bY g[X Lg\ch_Tg\ba, M[X KX_XTfXW

  JXefbaf f[T__ [TiX ab eXfcbaf\U\_\gl Ybe* \agXeXfg \a* be _\TU\_\gl j[TgfbXiXe j\g[

  eXfcXVg gb g[X TVg\baf bY g[X ?fVebj ;ZXag* be Tal geTafTVg\ba XkXVhgXW Ul g[X

  ?fVebj ;ZXag, M[X ?fVebj ;ZXag* g[ebhZ[ g[X LXgg_X`Xag @haW* f[T__ \aWX`a\Yl

  TaW [b_W XTV[ bY g[X >XYXaWTagf TaW g[X\e VbhafX_ [Te`_Xff Ybe Tal geTafTVg\ba

  XkXVhgXW Ul g[X ?fVebj ;ZXag,


        0,5    ;__ YhaWf [X_W Ul g[X ?fVebj ;ZXag f[T__ UX WXX`XW TaW Vbaf\WXeXW

  gb UX \a .=;<8/3, 5013; bY g[X =bheg* TaW f[T__ eX`T\a fhU]XVg gb g[X ]he\fW\Vg\ba bY

  g[X =bheg* hag\_ fhV[ g\`X Tf fhV[ YhaWf f[T__ UX W\fge\UhgXW be eXgheaXW chefhTag gb

  g[X Lg\ch_Tg\ba TaW-be Yheg[Xe beWXe(f) bY g[X =bheg,

                                            /5
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        0,6    ;g Tal g\`X TYgXe g[X =bheg ZeTagf ceX_\`\aTel TccebiT_ bY g[X

  LXgg_X`Xag* g[X ?fVebj ;ZXag `Tl* j\g[bhg Yheg[Xe TccebiT_ Yeb` >XYXaWTagf be

  g[X =bheg* W\fUhefX Tg g[X W\eXVg\ba bY FXTW =bhafX_ hc gb &/3.*... (IaX BhaWeXW

  @\Ygl M[bhfTaW N,L, >b__Tef) Yeb` g[X LXgg_X`Xag @haW ce\be gb g[X ?YYXVg\iX >TgX

  gb cTl ;W`\a\fgeTg\iX =bfgf, ;YgXe g[X ?YYXVg\iX >TgX* TWW\g\baT_ T`bhagf* hc gb

  &/..*... (IaX BhaWeXW M[bhfTaW >b__Tef)* `Tl UX geTafYXeeXW Yeb` g[X

  LXgg_X`Xag @haW gb cTl Ybe Tal aXVXffTel TWW\g\baT_ ;W`\a\fgeTg\iX =bfgf j\g[bhg

  Yheg[Xe beWXe bY g[X =bheg,


               H'     AF[JV

        0,7    (T)    M[X LXgg_\aZ JTeg\Xf TaW g[X ?fVebj ;ZXag TZeXX gb geXTg g[X

  LXgg_X`Xag @haW Tf UX\aZ Tg T__ g\`Xf T pdhT_\Y\XW fXgg_X`Xag YhaWq j\g[\a g[X

  `XTa\aZ bY MeXTf, KXZ, n/,246<+/, Ca TWW\g\ba* g[X ?fVebj ;ZXag f[T__ g\`X_l

  `T^X fhV[ X_XVg\baf Tf aXVXffTel be TWi\fTU_X gb VTeel bhg g[X cebi\f\baf bY g[\f o

  0,7* \aV_hW\aZ g[X peX_Tg\ba+UTV^ X_XVg\baq (Tf WXY\aXW \a MeXTf, KXZ, n/,246<+ /)

  UTV^ gb g[X XTe_\Xfg cXe`\ggXW WTgX, LhV[ X_XVg\baf f[T__ UX `TWX \a Vb`c_\TaVX

  j\g[ g[X cebVXWheXf TaW eXdh\eX`Xagf VbagT\aXW \a fhV[ eXZh_Tg\baf, Cg f[T__ UX g[X

  eXfcbaf\U\_\gl bY g[X ?fVebj ;ZXag gb g\`X_l TaW cebcXe_l ceXcTeX TaW WX_\iXe g[X

  aXVXffTel WbVh`XagTg\ba Ybe f\ZaTgheX Ul T__ aXVXffTel cTeg\Xf* TaW g[XeXTYgXe gb

  VThfX g[X Tccebce\TgX Y\_\aZ gb bVVhe,



                                           /6
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               (U)    @be g[X checbfX bY n/,246< bY g[X CagXeaT_ KXiXahX =bWX bY

  /764* Tf T`XaWXW* TaW g[X eXZh_Tg\baf ceb`h_ZTgXW g[XeXhaWXe* g[X pTW`\a\fgeTgbeq

  f[T__ UX g[X ?fVebj ;ZXag, M[X ?fVebj ;ZXag f[T__ g\`X_l TaW cebcXe_l Y\_X T__

  \aYbe`Tg\baT_ TaW bg[Xe gTk eXgheaf aXVXffTel be TWi\fTU_X j\g[ eXfcXVg gb g[X

  LXgg_X`Xag @haW (\aV_hW\aZ* j\g[bhg _\`\gTg\ba* g[X eXgheaf WXfVe\UXW \a MeXTf, KXZ,

  n/,246<+0(^)), LhV[ eXgheaf (Tf jX__ Tf g[X X_XVg\ba WXfVe\UXW \a o 0,7(T) [XeX\a)

  f[T__ UX Vbaf\fgXag j\g[ g[\f o 0,7 TaW \a T__ XiXagf f[T__ eXY_XVg g[Tg T__ MTkXf

  (\aV_hW\aZ Tal Xfg\`TgXW MTkXf* \agXeXfg be cXaT_g\Xf) ba g[X \aVb`X XTeaXW Ul g[X

  LXgg_X`Xag @haW f[T__ UX cT\W bhg bY g[X LXgg_X`Xag @haW Tf cebi\WXW \a o 0,7(V)

  [XeX\a,

               (V)    ;__ (\) MTkXf (\aV_hW\aZ Tal Xfg\`TgXW MTkXf* \agXeXfg be

  cXaT_g\Xf) Te\f\aZ j\g[ eXfcXVg gb g[X \aVb`X XTeaXW Ul g[X LXgg_X`Xag @haW*

  \aV_hW\aZ Tal MTkXf be gTk WXge\`Xagf g[Tg `Tl UX \`cbfXW hcba g[X KX_XTfXW

  JXefbaf be g[X\e VbhafX_ j\g[ eXfcXVg gb Tal \aVb`X XTeaXW Ul g[X LXgg_X`Xag @haW

  Ybe Tal cXe\bW Whe\aZ j[\V[ g[X LXgg_X`Xag @haW WbXf abg dhT_\Yl Tf T pdhT_\Y\XW

  fXgg_X`Xag YhaWq Ybe YXWXeT_ be fgTgX \aVb`X gTk checbfXf* TaW (\\) XkcXafXf TaW

  Vbfgf \aVheeXW \a VbaaXVg\ba j\g[ g[X bcXeTg\ba TaW \`c_X`XagTg\ba bY g[\f o 0,7

  (\aV_hW\aZ* j\g[bhg _\`\gTg\ba* XkcXafXf bY gTk TggbeaXlf TaW-be TVVbhagTagf TaW

  `T\_\aZ TaW W\fge\Uhg\ba Vbfgf TaW XkcXafXf eX_Tg\aZ gb Y\_\aZ (be YT\_\aZ gb Y\_X) g[X

  eXgheaf WXfVe\UXW \a g[\f o 0,7) (pMTk ?kcXafXfq)* f[T__ UX cT\W bhg bY g[X


                                            /7
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  LXgg_X`Xag @haW9 \a T__ XiXagf g[X KX_XTfXW JXefbaf TaW g[X\e VbhafX_ f[T__ [TiX ab

  eXfcbaf\U\_\gl be _\TU\_\gl j[TgfbXiXe Ybe MTkXf be MTk ?kcXafXf, M[X ?fVebj

  ;ZXag* g[ebhZ[ g[X LXgg_X`Xag @haW* f[T__ \aWX`a\Yl TaW [b_W XTV[ bY g[X KX_XTfXW

  JXefbaf TaW g[X\e VbhafX_ [Te`_Xff Ybe MTkXf TaW MTk ?kcXafXf (\aV_hW\aZ*

  j\g[bhg _\`\gTg\ba* MTkXf cTlTU_X Ul eXTfba bY Tal fhV[ \aWX`a\Y\VTg\ba), @heg[Xe*

  MTkXf TaW MTk ?kcXafXf f[T__ UX geXTgXW Tf* TaW Vbaf\WXeXW gb UX* T Vbfg bY

  TW`\a\fgeTg\ba bY g[X LXgg_X`Xag @haW TaW f[T__ UX g\`X_l cT\W Ul g[X ?fVebj

  ;ZXag bhg bY g[X LXgg_X`Xag @haW j\g[bhg ce\be beWXe Yeb` g[X =bheg* TaW g[X

  ?fVebj ;ZXag f[T__ UX bU_\ZTgXW (abgj\g[fgTaW\aZ Talg[\aZ [XeX\a gb g[X VbageTel)

  gb j\g[[b_W Yeb` W\fge\Uhg\ba gb ;hg[be\mXW =_T\`Tagf Tal YhaWf aXVXffTel gb cTl

  fhV[ T`bhagf* \aV_hW\aZ g[X XfgTU_\f[`Xag bY TWXdhTgX eXfXeiXf Ybe Tal MTkXf TaW

  MTk ?kcXafXf (Tf jX__ Tf Tal T`bhagf g[Tg `Tl UX eXdh\eXW gb UX j\g[[X_W haWXe

  MeXTf, KXZ, n/,246<+0(_)(0))9 aX\g[Xe g[X KX_XTfXW JXefbaf abe g[X\e VbhafX_ TeX

  eXfcbaf\U_X abe f[T__ g[Xl [TiX Tal _\TU\_\gl Ybe Tal MTkXf be MTk ?kcXafXf, M[X

  LXgg_\aZ JTeg\Xf [XeXgb TZeXX gb VbbcXeTgX j\g[ g[X ?fVebj ;ZXag* XTV[ bg[Xe* TaW

  g[X\e gTk TggbeaXlf TaW TVVbhagTagf gb g[X XkgXag eXTfbaTU_l aXVXffTel gb VTeel bhg

  g[X cebi\f\baf bY g[\f o 0,7,

               I'     AJUQNRFWNSR SK WMJ @JWWPJQJRW

        0,/. CY g[X Lg\ch_Tg\ba \f abg TccebiXW* g[X Lg\ch_Tg\ba \f gXe`\aTgXW be

  VTaVX_XW* be g[X ?YYXVg\iX >TgX bg[Xej\fX YT\_f Ybe Tal eXTfba gb bVVhe* g[X


                                          0.
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  LXgg_X`Xag @haWf _Xff Hbg\VX TaW ;W`\a\fgeTg\ba ?kcXafXf be MTkXf be MTk

  ?kcXafXf cT\W* \aVheeXW* be WhX TaW bj\aZ \a VbaaXVg\ba j\g[ g[X LXgg_X`Xag

  cebi\WXW Ybe [XeX\a* f[T__ UX eXYhaWXW chefhTag gb je\ggXa \afgehVg\baf Ybe VbhafX_

  Ybe >XYXaWTagf \a TVVbeWTaVX j\g[ o 5,3 [XeX\a,


        *'    >UJPNQNRFU\ 0TTUSYFP =UIJU FRI @JWWPJQJRW 7JFUNRL

        1,/    Jeb`cg_l TYgXe XkXVhg\ba bY g[X Lg\ch_Tg\ba* g[X FXTW J_T\ag\YYf f[T__

  fhU`\g g[X Lg\ch_Tg\ba gbZXg[Xe j\g[ \gf ?k[\U\gf gb g[X =bheg TaW f[T__ Tcc_l Ybe

  Xagel bY Ta beWXe (pJeX_\`\aTel ;ccebiT_ IeWXeq)* fhUfgTag\T__l \a g[X Ybe` bY

  ?k[\U\g ; TggTV[XW [XeXgb* eXdhXfg\aZ* 37<0: ,53,* g[X ceX_\`\aTel TccebiT_ bY g[X

  LXgg_X`Xag fXg Ybeg[ \a g[X Lg\ch_Tg\ba* VXeg\Y\VTg\ba bY g[X =_Tff Ybe fXgg_X`Xag

  checbfXf* TaW TccebiT_ bY g[X `T\_\aZ bY T fXgg_X`Xag abg\VX (pHbg\VXq) TaW

  chU_\VTg\ba bY T fh``Tel abg\VX (pLh``Tel Hbg\VXq)* fhUfgTag\T__l \a g[X Ybe`f bY

  ?k[\U\gf ;+/ TaW ;+1 TggTV[XW [XeXgb, M[X Hbg\VX f[T__ \aV_hWX g[X ZXaXeT_ gXe`f

  bY g[X LXgg_X`Xag fXg Ybeg[ \a g[X Lg\ch_Tg\ba* g[X cebcbfXW J_Ta bY ;__bVTg\ba* g[X

  ZXaXeT_ gXe`f bY g[X YXX TaW ?kcXafX ;cc_\VTg\ba* Tf WXY\aXW \a o 4,/ [XeX\a* TaW

  g[X WTgX bY g[X LXgg_X`Xag BXTe\aZ* Tf WXY\aXW UX_bj,


        1,0   FXTW =bhafX_ f[T__ eXdhXfg g[Tg TYgXe abg\VX \f Z\iXa* g[X =bheg [b_W T

  [XTe\aZ (pLXgg_X`Xag BXTe\aZq) TaW Y\aT__l TccebiX g[X LXgg_X`Xag bY g[X F\g\ZTg\ba

  Tf fXg Ybeg[ [XeX\a, ;g be TYgXe g[X LXgg_X`Xag BXTe\aZ* FXTW =bhafX_ T_fb j\__

  eXdhXfg g[Tg g[X =bheg TccebiX g[X cebcbfXW J_Ta bY ;__bVTg\ba* g[X @XX TaW
                                          0/
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  ?kcXafX ;cc_\VTg\ba* TaW g[X FXTW J_T\ag\YYfr eXdhXfg Ybe cTl`Xag bY g\`X TaW Ybe

  g[X\e XkcXafXf* \Y Tal,


        +'     ?JPJFVJV

        2,/    Ncba g[X ?YYXVg\iX >TgX* g[X FXTW J_T\ag\YYf f[T__* TaW XTV[ bY g[X

  =_Tff GX`UXef f[T__ UX WXX`XW gb [TiX* TaW Ul bcXeTg\ba bY g[X DhWZ`Xag f[T__

  [TiX* Yh__l* Y\aT__l* TaW YbeXiXe eX_XTfXW* eX_\adh\f[XW* TaW W\fV[TeZXW T__ KX_XTfXW

  =_T\`f TZT\afg g[X KX_XTfXW JXefbaf* j[Xg[Xe be abg fhV[ =_Tff GX`UXe XkXVhgXf

  TaW WX_\iXef T JebbY bY =_T\` TaW KX_XTfX be f[TeXf \a g[X LXgg_X`Xag @haW, =_T\`f

  gb XaYbeVX g[X gXe`f bY g[\f Lg\ch_Tg\ba TeX abg eX_XTfXW,


        2,0    M[X JebbY bY =_T\` TaW KX_XTfX gb UX XkXVhgXW Ul =_Tff GX`UXef

  f[T__ eX_XTfX T__ KX_XTfXW =_T\`f TZT\afg g[X KX_XTfXW cXefbaf TaW f[T__ UX

  fhUfgTag\T__l \a g[X Ybe` VbagT\aXW \a ?k[\U\g ;+0 TggTV[XW [XeXgb,


        2,1    Ncba g[X ?YYXVg\iX >TgX* T__ =_Tff GX`UXef* TaW TalbaX V_T\`\aZ

  g[ebhZ[ be ba UX[T_Y bY Tal bY g[X`* j\__ UX YbeXiXe UTeeXW TaW Xa]b\aXW Yeb`

  Vb``XaV\aZ* \afg\ghg\aZ* cebfXVhg\aZ be Vbag\ah\aZ gb cebfXVhgX Tal TVg\ba be bg[Xe

  cebVXXW\aZ \a Tal Vbheg bY _Tj be Xdh\gl* TeU\geTg\ba ge\UhaT_* TW`\a\fgeTg\iX Ybeh`*

  be Tal bg[Xe Ybeh`* TffXeg\aZ g[X KX_XTfXW =_T\`f TZT\afg Tal bY g[X KX_XTfXW

  JXefbaf,




                                            00
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        2,2    Ncba g[X ?YYXVg\iX >TgX* XTV[ bY g[X KX_XTfXW JXefbaf f[T__ UX

  WXX`XW gb [TiX* TaW Ul bcXeTg\ba bY g[X DhWZ`Xag f[T__ [TiX* Yh__l* Y\aT__l* TaW

  YbeXiXe eX_XTfXW* eX_\adh\f[XW* TaW W\fV[TeZXW g[X FXTW J_T\ag\YYf* XTV[ TaW T__ bY

  g[X =_Tff GX`UXef* TaW FXTW J_T\ag\YYfr VbhafX_* \aV_hW\aZ FXTW =bhafX_* Yeb` T__

  >XYXaWTagfr =_T\`f, =_T\`f gb XaYbeVX g[X gXe`f bY g[\f Lg\ch_Tg\ba be Tal beWXe bY

  g[X =bheg \a g[X F\g\ZTg\ba TeX abg eX_XTfXW,


        ,'     0IQNRNVWUFWNSR FRI 2FPHXPFWNSR SK 2PFNQV& 5NRFP 0ZFUIV FRI
               @XTJUYNVNSR FRI 3NVWUNGXWNSR SK WMJ @JWWPJQJRW 5XRI

        3,/    M[X =_T\`f ;W`\a\fgeTgbe* fhU]XVg gb fhV[ fhcXei\f\ba TaW W\eXVg\ba

  bY g[X =bheg Tf `Tl UX aXVXffTel be Tf V\eVh`fgTaVXf `Tl eXdh\eX* f[T__ TW`\a\fgXe

  TaW VT_Vh_TgX g[X V_T\`f fhU`\ggXW Ul =_Tff GX`UXef TaW f[T__ biXefXX

  W\fge\Uhg\ba bY g[X HXg LXgg_X`Xag @haW (WXY\aXW UX_bj) gb ;hg[be\mXW =_T\`Tagf,


        3,0    M[X LXgg_X`Xag @haW f[T__ UX Tcc_\XW Tf Yb__bjf8


               (T)    Mb cTl T__ g[X Hbg\VX TaW ;W`\a\fgeTg\ba ?kcXafXf9


               (U)    Mb cTl g[X MTkXf TaW MTk ?kcXafXf WXfVe\UXW \a o 0,79


               (V)    Mb cTl TggbeaXlfr YXXf TaW XkcXafXf bY VbhafX_ Ybe g[X FXTW

  J_T\ag\YYf (p@XX TaW ?kcXafX ;jTeWq)* TaW gb cTl g[X FXTW J_T\ag\YYf Ybe g[X\e g\`X

  TaW XkcXafXf* \Y TaW gb g[X XkgXag T__bjXW Ul g[X =bheg9 TaW



                                            01
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               (W)      ;YgXe g[X ?YYXVg\iX >TgX* gb W\fge\UhgX g[X UT_TaVX bY g[X

  LXgg_X`Xag @haW (pHXg LXgg_X`Xag @haWq) gb ;hg[be\mXW =_T\`Tagf Tf T__bjXW Ul

  g[X Lg\ch_Tg\ba* g[X J_Ta bY ;__bVTg\ba* be g[X =bheg,


        3,1    ;YgXe g[X ?YYXVg\iX >TgX* TaW \a TVVbeWTaVX j\g[ g[X gXe`f bY g[X

  Lg\ch_Tg\ba* g[X J_Ta bY ;__bVTg\ba* be fhV[ Yheg[Xe TccebiT_ TaW Yheg[Xe beWXe(f) bY

  g[X =bheg Tf `Tl UX aXVXffTel be Tf V\eVh`fgTaVXf `Tl eXdh\eX* g[X HXg LXgg_X`Xag

  @haW f[T__ UX W\fge\UhgXW gb ;hg[be\mXW =_T\`Tagf* fhU]XVg gb TaW \a TVVbeWTaVX

  j\g[ g[X Yb__bj\aZ8


               (T)      ?TV[ JXefba V_T\`\aZ gb UX Ta ;hg[be\mXW =_T\`Tag f[T__ UX

  eXdh\eXW gb fhU`\g gb g[X =_T\`f ;W`\a\fgeTgbe T Vb`c_XgXW JebbY bY =_T\` TaW

  KX_XTfX* fhUfgTag\T__l \a g[X Ybe` bY ?k[\U\g ;+0 TggTV[XW [XeXgb* f\ZaXW haWXe

  cXaT_gl bY cXe]hel TaW fhccbegXW Ul fhV[ WbVh`Xagf Tf TeX fcXV\Y\XW \a g[X JebbY

  bY =_T\` TaW KX_XTfX,


  ;__ JebbYf bY =_T\` TaW KX_XTfXf `hfg UX fhU`\ggXW Tg g[X g\`X cebi\WXW \a g[X

  JeX_\`\aTel ;ccebiT_ IeWXe* fhUfgTag\T__l \a g[X Ybe` TggTV[XW Tf ?k[\U\g ; [XeXgb

  (pJeX_\`\aTel ;ccebiT_ IeWXeq), ?kVXcg Tf bg[Xej\fX beWXeXW Ul g[X =bheg* T__

  =_Tff GX`UXef j[b YT\_ gb g\`X_l fhU`\g T iT_\W JebbY bY =_T\` TaW KX_XTfX

  j\g[\a fhV[ cXe\bW* be fhV[ bg[Xe cXe\bW Tf `Tl UX beWXeXW Ul g[X =bheg* be

  bg[Xej\fX T__bjXW* f[T__ UX YbeXiXe UTeeXW Yeb` eXVX\i\aZ Tal cTl`Xagf chefhTag

                                            02
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  gb g[X Lg\ch_Tg\ba TaW g[X LXgg_X`Xag fXg Ybeg[ [XeX\a* Uhg f[T__ \a T__ bg[Xe eXfcXVgf

  UX fhU]XVg gb TaW UbhaW Ul g[X cebi\f\baf bY g[X Lg\ch_Tg\ba TaW g[X LXgg_X`Xag*

  \aV_hW\aZ g[X gXe`f bY g[X DhWZ`Xag TaW g[X eX_XTfXf cebi\WXW Ybe g[XeX\a TaW

  [XeX\a* TaW j\__ UX UTeeXW TaW Xa]b\aXW Yeb` Ue\aZ\aZ Tal TVg\ba TZT\afg g[X

  KX_XTfXW JXefbaf VbaVXea\aZ g[X KX_XTfXW =_T\`f, Hbgj\g[fgTaW\aZ g[X YbeXZb\aZ*

  FXTW =bhafX_ f[T__ [TiX g[X W\fVeXg\ba (Uhg abg Ta bU_\ZTg\ba) gb TVVXcg _TgX+

  fhU`\ggXW V_T\`f Ybe cebVXff\aZ Ul g[X =_T\`f ;W`\a\fgeTgbe fb _baZ Tf g[X

  W\fge\Uhg\ba bY g[X HXg LXgg_X`Xag @haW gb ;hg[be\mXW =_T\`Tagf \f abg `TgXe\T__l

  WX_TlXW g[XeXUl, FXTW =bhafX_ f[T__ [TiX ab _\TU\_\gl Ybe abg TVVXcg\aZ _TgX+

  fhU`\ggXW V_T\`f,

        3,2    JXefbaf j[b bg[Xej\fX jbh_W UX =_Tff GX`UXef Uhg WXf\eX gb UX

  XkV_hWXW Yeb` g[X LXgg_X`Xag f[T__ UX eXdh\eXW gb cebi\WX T je\ggXa fgTgX`Xag g[Tg

  g[X JXefba j\f[Xf gb UX XkV_hWXW Yeb` g[X =_Tff Ybe eXVX\cg Ul g[X =_T\`f

  ;W`\a\fgeTgbe ab _TgXe g[Ta g[X g\`X cebi\WXW \a g[X JeX_\`\aTel ;ccebiT_ IeWXe,

  Na_Xff bg[Xej\fX beWXeXW Ul g[X =bheg* Tal JXefba j[b \f T =_Tff GX`UXe TaW

  j[b WbXf abg fhU`\g T g\`X_l TaW iT_\W eXdhXfg Ybe XkV_hf\ba Yeb` g[X =_Tff f[T__

  UX UbhaW Ul g[\f Lg\ch_Tg\ba, =bc\Xf bY T__ eXdhXfgf Ybe XkV_hf\ba eXVX\iXW f[T__ UX

  fXag gb VbhafX_ Ybe >XYXaWTagf TaW gb FXTW =bhafX_ j\g[\a T eXTfbaTU_X g\`X bY

  eXVX\cg Ul g[X =_T\`f ;W`\a\fgeTgbe TaW \a Tal XiXag abg _Xff g[Ta fXiXa (5)

  VT_XaWTe WTlf ce\be gb g[X LXgg_X`Xag BXTe\aZ, =bc\Xf bY T__ je\ggXa eXgeTVg\baf bY


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  eXdhXfgf Ybe XkV_hf\ba eXVX\iXW* f[T__ UX fXag gb VbhafX_ Ybe >XYXaWTagf TaW gb FXTW

  =bhafX_ j\g[\a T eXTfbaTU_X g\`X bY eXVX\cg Ul g[X =_T\`f ;W`\a\fgeTgbe TaW \a

  Tal XiXag abg _Xff g[Ta g[eXX (1) VT_XaWTe WTlf ce\be gb g[X LXgg_X`Xag BXTe\aZ,


        3,3    M[X HXg LXgg_X`Xag @haW f[T__ UX W\fge\UhgXW gb g[X ;hg[be\mXW

  =_T\`Tagf fhUfgTag\T__l \a TVVbeWTaVX j\g[ g[X J_Ta bY ;__bVTg\ba fXg Ybeg[ \a g[X

  Hbg\VX TaW TccebiXW Ul g[X =bheg, CY g[XeX \f Tal UT_TaVX eX`T\a\aZ \a g[X HXg

  LXgg_X`Xag @haW TYgXe T eXTfbaTU_X cXe\bW bY g\`X TYgXe g[X WTgX bY g[X \a\g\T_

  W\fge\Uhg\ba bY g[X HXg LXgg_X`Xag @haW* FXTW =bhafX_ f[T__* \Y YXTf\U_X* eXT__bVTgX

  (j[\V[ eXT__bVTg\ba `Tl bVVhe ba `h_g\c_X bVVTf\baf) fhV[ UT_TaVX T`baZ

  ;hg[be\mXW =_T\`Tagf \a Ta Xdh\gTU_X TaW XVbab`\V YTf[\ba, M[XeXTYgXe* Tal /0

  637363; UT_TaVX j[\V[ fg\__ eX`T\af \a g[X HXg LXgg_X`Xag @haW f[T__ UX WbaTgXW gb

  Ta Tccebce\TgX aba+cebY\g beZTa\mTg\ba fX_XVgXW Ul FXTW =bhafX_, M[\f \f abg T

  V_T\`f+`TWX fXgg_X`Xag, M[XeX j\__ UX ab eXiXef\ba gb >XYXaWTagf,


        3,4    ?kVXcg Ybe HXj Ie\XagT_rf bU_\ZTg\ba gb cTl be VThfX cTl`Xag bY g[X

  LXgg_X`Xag ;`bhag \agb g[X LXgg_X`Xag @haW Tf fXg Ybeg[ [XeX\a* >XYXaWTagf TaW

  g[X\e KX_TgXW JTeg\Xf f[T__ [TiX ab eXfcbaf\U\_\gl Ybe* \agXeXfg \a* be _\TU\_\gl

  j[TgfbXiXe j\g[ eXfcXVg gb g[X \aiXfg`Xag be W\fge\Uhg\ba bY g[X LXgg_X`Xag @haW*

  g[X J_Ta bY ;__bVTg\ba* g[X WXgXe`\aTg\ba* TW`\a\fgeTg\ba* be VT_Vh_Tg\ba bY =_Tff

  V_T\`f* g[X cTl`Xag be j\g[[b_W\aZ bY MTkXf be MTk ?kcXafXf* be Tal _bffXf


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  \aVheeXW \a VbaaXVg\ba g[XeXj\g[, Hb JXefba f[T__ [TiX Tal V_T\` bY Tal ^\aW

  TZT\afg >XYXaWTagf* g[X\e KX_TgXW JTeg\Xf* be VbhafX_ Ybe >XYXaWTagf j\g[ eXfcXVg gb

  g[X `TggXef fXg Ybeg[ \a oo 3,/+3,6 [XeX\a9 TaW g[X =_Tff GX`UXef* FXTW J_T\ag\YYf*

  TaW FXTW J_T\ag\YYfr VbhafX_* \aV_hW\aZ FXTW =bhafX_* eX_XTfX >XYXaWTagf* TaW g[X\e

  KX_TgXW JTeg\Xf Yeb` Tal TaW T__ _\TU\_\gl TaW V_T\`f Te\f\aZ Yeb` be j\g[ eXfcXVg gb

  g[X TW`\a\fgeTg\ba* \aiXfg`Xag be W\fge\Uhg\ba bY g[X LXgg_X`Xag @haW,


        3,5    Hb JXefba f[T__ [TiX Tal V_T\` TZT\afg >XYXaWTagf* be g[X\e KX_TgXW

  JTeg\Xf* VbhafX_ Ybe >XYXaWTagf* g[X FXTW J_T\ag\YYf* FXTW =bhafX_* g[X =_T\`f

  ;W`\a\fgeTgbe be Tal bg[Xe JXefba WXf\ZaTgXW Ul FXTW =bhafX_ UTfXW ba

  WXgXe`\aTg\baf be W\fge\Uhg\baf `TWX fhUfgTag\T__l \a TVVbeWTaVX j\g[ g[X

  Lg\ch_Tg\ba TaW g[X LXgg_X`Xag VbagT\aXW [XeX\a* g[X J_Ta bY ;__bVTg\ba* be Yheg[Xe

  beWXe(f) bY g[X =bheg,


        3,6    Cg \f haWXefgbbW TaW TZeXXW Ul g[X LXgg_\aZ JTeg\Xf g[Tg Tal cebcbfXW

  J_Ta bY ;__bVTg\ba bY g[X HXg LXgg_X`Xag @haW* \aV_hW\aZ* Uhg abg _\`\gXW gb* Tal

  TW]hfg`Xagf gb Ta ;hg[be\mXW =_T\`Tagrf V_T\` fXg Ybeg[ g[XeX\a* \f abg T cTeg bY g[X

  Lg\ch_Tg\ba TaW \f gb UX Vbaf\WXeXW Ul g[X =bheg fXcTeTgX_l Yeb` g[X =bhegrf

  Vbaf\WXeTg\ba bY g[X YT\eaXff* eXTfbaTU_XaXff* TaW TWXdhTVl bY g[X LXgg_X`Xag fXg

  Ybeg[ \a g[X Lg\ch_Tg\ba* TaW Tal beWXe be cebVXXW\aZ eX_Tg\aZ gb g[X J_Ta bY

  ;__bVTg\ba f[T__ abg bcXeTgX gb gXe`\aTgX be VTaVX_ g[X Lg\ch_Tg\ba* be TYYXVg be


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  WX_Tl g[X Y\aT_\gl bY g[X DhWZ`Xag Tccebi\aZ g[X Lg\ch_Tg\ba TaW g[X LXgg_X`Xag bY

  g[X F\g\ZTg\ba fXg Ybeg[ g[XeX\a, >XYXaWTagf j\__ gT^X ab cbf\g\ba j\g[ eXfcXVg gb

  fhV[ cebcbfXW J_Ta bY ;__bVTg\ba be fhV[ c_Ta Tf `Tl UX TccebiXW Ul g[X =bheg,


        -'    AMJ :JFI >PFNRWNKKV] 2SXRVJP]V 0WWSURJ\V] 5JJV FRI 4[TJRVJV
        4,/   FXTW =bhafX_ `Tl fhU`\g Ta Tcc_\VTg\ba be Tcc_\VTg\baf (p@XX TaW

  ?kcXafX ;cc_\VTg\baq) gb g[X =bheg Ybe W\fge\Uhg\baf Yeb` g[X LXgg_X`Xag @haW Ybe8

  (\) Ta TjTeW bY TggbeaXlfr YXXf9 c_hf (\\) XkcXafXf be V[TeZXf \a VbaaXVg\ba j\g[

  cebfXVhg\aZ g[X F\g\ZTg\ba9 c_hf (\\\) Tal \agXeXfg ba fhV[ TggbeaXlfr YXXf TaW

  XkcXafXf Tg g[X fT`X eTgX TaW Ybe g[X fT`X cXe\bWf Tf XTeaXW Ul g[X LXgg_X`Xag

  @haW (hag\_ cT\W) Tf `Tl UX TjTeWXW Ul g[X =bheg, M[X FXTW J_T\ag\YYf `Tl T_fb

  fhU`\g Ta Tcc_\VTg\ba Ybe Ta TjTeW Ybe g[X\e g\`X TaW XkcXafXf \a VbaaXVg\ba j\g[

  g[X cebfXVhg\ba bY g[X F\g\ZTg\ba, FXTW =bhafX_ eXfXeiX g[X e\Z[g gb `T^X TWW\g\baT_

  Tcc_\VTg\baf Ybe YXXf TaW XkcXafXf \aVheeXW,


        4,0   M[X TggbeaXlfr YXXf TaW XkcXafXf* Tf TjTeWXW Ul g[X =bheg* f[T__ UX

  cT\W gb FXTW =bhafX_ Yeb` g[X LXgg_X`Xag @haW* Tf beWXeXW* j\g[\a g[eXX (1) WTlf

  TYgXe g[X =bheg XkXVhgXf Ta beWXe TjTeW\aZ fhV[ YXXf TaW XkcXafXf*

  abgj\g[fgTaW\aZ g[X Xk\fgXaVX bY Tal bU]XVg\baf g[XeXgb be cbgXag\T_ Ybe TccXT_

  g[XeXYeb`, FXTW =bhafX_ `Tl g[XeXTYgXe T__bVTgX g[X TggbeaXlfr YXXf T`baZ FXTW

  J_T\ag\YYfr bg[Xe VbhafX_* \Y Tal* \a T `TaaXe \a j[\V[ g[Xl \a ZbbW YT\g[ UX_\XiX


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  eXY_XVgf g[X Vbage\Uhg\baf bY fhV[ VbhafX_ gb g[X \a\g\Tg\ba* cebfXVhg\ba* TaW

  eXfb_hg\ba bY g[X F\g\ZTg\ba,


        4,1    CY g[X ?YYXVg\iX >TgX YT\_f Ybe Tal eXTfba gb bVVhe* be g[X DhWZ`Xag be

  g[X beWXe `T^\aZ g[X @XX TaW ?kcXafX ;jTeW \f eXiXefXW be `bW\Y\XW* be g[X

  Lg\ch_Tg\ba \f VTaVX_XW be gXe`\aTgXW Ybe Tal bg[Xe eXTfba* TaW fhV[ eXiXefT_*

  `bW\Y\VTg\ba* VTaVX__Tg\ba be gXe`\aTg\ba UXVb`Xf Y\aT_ TaW abg fhU]XVg gb eXi\Xj*

  TaW \a g[X XiXag g[Tg g[X @XX TaW ?kcXafX ;jTeW [Tf UXXa cT\W gb Tal XkgXag* g[Xa

  FXTW =bhafX_* TaW fhV[ bg[Xe FXTW J_T\ag\YYfr VbhafX_ j[b [TiX eXVX\iXW Tal

  cbeg\ba bY g[X @XX TaW ?kcXafX ;jTeW* f[T__* j\g[\a Y\YgXXa (/3) VT_XaWTe WTlf

  Yeb` eXVX\i\aZ abg\VX Yeb` >XYXaWTagfr VbhafX_ be Yeb` T Vbheg bY Tccebce\TgX

  ]he\fW\Vg\ba* UX fXiXeT__l TaW ]b\ag_l bU_\ZTgXW gb eXYhaW gb g[X LXgg_X`Xag @haW

  fhV[ YXXf TaW XkcXafXf ceXi\bhf_l cT\W gb g[X` Yeb` g[X LXgg_X`Xag @haW* c_hf

  \agXeXfg g[XeXba Tg g[X fT`X eTgX Tf XTeaXW ba g[X LXgg_X`Xag @haW \a Ta T`bhag

  Vbaf\fgXag j\g[ fhV[ eXiXefT_* `bW\Y\VTg\ba* VTaVX__Tg\ba be gXe`\aTg\ba, ?TV[ fhV[

  FXTW J_T\ag\YYfr VbhafX_rf _Tj Y\e` eXVX\i\aZ YXXf TaW XkcXafXf* Tf T VbaW\g\ba bY

  eXVX\i\aZ fhV[ YXXf TaW XkcXafXf* ba UX[T_Y bY \gfX_Y TaW XTV[ cTegaXe TaW-be

  f[TeX[b_WXe bY \g* TZeXXf g[Tg g[X _Tj Y\e` TaW \gf cTegaXef TaW-be f[TeX[b_WXef TeX

  fhU]XVg gb g[X ]he\fW\Vg\ba bY g[X =bheg Ybe g[X checbfX bY XaYbeV\aZ g[X cebi\f\baf

  bY g[\f cTeTZeTc[,



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        4,2    M[X cebVXWheX Ybe TaW g[X T__bjTaVX be W\fT__bjTaVX Ul g[X =bheg bY

  Tal Tcc_\VTg\baf Ul Tal FXTW J_T\ag\YYfr VbhafX_ Ybe TggbeaXlfr YXXf TaW XkcXafXf*

  be g[X g\`X TaW XkcXafXf bY g[X FXTW J_T\ag\YYf* gb UX cT\W bhg bY g[X LXgg_X`Xag

  @haW* TeX abg cTeg bY g[X LXgg_X`Xag fXg Ybeg[ \a g[X Lg\ch_Tg\ba* TaW TeX gb UX

  Vbaf\WXeXW Ul g[X =bheg fXcTeTgX_l Yeb` g[X =bhegrf Vbaf\WXeTg\ba bY g[X YT\eaXff*

  eXTfbaTU_XaXff* TaW TWXdhTVl bY g[X LXgg_X`Xag fXg Ybeg[ \a g[X Lg\ch_Tg\ba* TaW Tal

  beWXe be cebVXXW\aZ eX_Tg\aZ gb g[X @XX TaW ?kcXafX ;cc_\VTg\ba* be g[X FXTW

  J_T\ag\YYfr g\`X TaW XkcXafX Tcc_\VTg\ba* be Tal TccXT_ Yeb` Tal beWXe eX_Tg\aZ

  g[XeXgb be eXiXefT_ be `bW\Y\VTg\ba g[XeXbY* f[T__ abg bcXeTgX gb gXe`\aTgX be VTaVX_

  g[X Lg\ch_Tg\ba* be TYYXVg be WX_Tl g[X Y\aT_\gl bY g[X DhWZ`Xag Tccebi\aZ g[X

  Lg\ch_Tg\ba TaW g[X LXgg_X`Xag bY g[X F\g\ZTg\ba fXg Ybeg[ g[XeX\a,


        4,3    ;al YXXf TaW-be XkcXafXf TjTeWXW Ul g[X =bheg f[T__ UX cT\W fb_X_l

  Yeb` g[X LXgg_X`Xag @haW, >XYXaWTagf* TaW g[X\e KX_TgXW JTeg\Xf f[T__ [TiX ab

  eXfcbaf\U\_\gl Ybe Tal cTl`Xag bY TggbeaXlfr YXXf TaW-be XkcXafXf gb FXTW =bhafX_*

  FXTW J_T\ag\YYfr bg[Xe VbhafX_* g[X FXTW J_T\ag\YYf* be Tal bg[Xe VbhafX_ be JXefba

  j[b eXVX\iXf cTl`Xag Yeb` g[X LXgg_X`Xag @haW,


        4,4    >XYXaWTagf* TaW g[X\e KX_TgXW JTeg\Xf f[T__ [TiX ab eXfcbaf\U\_\gl be

  _\TU\_\gl j[TgfbXiXe Ybe g[X T__bVTg\ba T`baZ FXTW =bhafX_* FXTW J_T\ag\YYfr bg[Xe




                                            1.
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  VbhafX_* be Tal bg[Xe VbhafX_ be JXefba j[b `Tl TffXeg fb`X V_T\` g[XeXgb* bY Tal

  @XX TaW ?kcXafX ;jTeW g[Tg g[X =bheg `Tl `T^X \a g[X F\g\ZTg\ba,


        .'     2SRINWNSRV SK @JWWPJQJRW& 4KKJHW SK 3NVFTTUSYFP& 2FRHJPPFWNSR SU
               AJUQNRFWNSR

        5,/    M[X ?YYXVg\iX >TgX bY g[X Lg\ch_Tg\ba f[T__ UX VbaW\g\baXW ba g[X

  bVVheeXaVX bY T__ g[X Yb__bj\aZ XiXagf8


               (T)   M[X =bheg [Tf XagXeXW g[X JeX_\`\aTel ;ccebiT_ IeWXe* Tf

  eXdh\eXW Ul o 1,/ [XeX\a9


               (U)   M[X LXgg_X`Xag ;`bhag [Tf UXXa WXcbf\gXW \agb g[X ?fVebj

  ;VVbhag9


               (V)   >XYXaWTagf [TiX abg XkXeV\fXW g[X\e bcg\ba gb gXe`\aTgX g[X

  Lg\ch_Tg\ba chefhTag gb o 5,2 [XeX\a9


               (W)   M[X =bheg [Tf XagXeXW g[X DhWZ`Xag* be T ]hWZ`Xag

  fhUfgTag\T__l \a g[X Ybe` bY ?k[\U\g < TggTV[XW [XeXgb9 TaW


               (X)   M[X DhWZ`Xag [Tf UXVb`X @\aT_* Tf WXY\aXW \a o /,/4 [XeX\a,


        5,0    CY g[X LXgg_X`Xag ;`bhag \f abg cT\W \agb g[X ?fVebj ;VVbhag \a

  TVVbeWTaVX j\g[ cTeTZeTc[ o0,/ bY g[\f Lg\ch_Tg\ba* g[Xa J_T\ag\YYf* ba UX[T_Y bY g[X

  LXgg_X`Xag =_Tff* f[T__ [TiX g[X e\Z[g gb gXe`\aTgX g[X LXgg_X`Xag TaW Lg\ch_Tg\ba


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  Uhg ba_l \Y8 (\) FXTW =bhafX_ [Tf abg\Y\XW >XYXaWTagfr VbhafX_ \a je\g\aZ bY FXTW

  =bhafX_rf \agXag\ba gb gXe`\aTgX g[X LXgg_X`Xag (p@T\_heX gb @haW MXe`\aTg\ba

  Hbg\VXq)* TaW (\\) g[X Xag\eX LXgg_X`Xag ;`bhag \f abg geTafYXeeXW gb g[X LXgg_X`Xag

  @haW XfVebj TVVbhag j\g[\a Y\iX (3) Uhf\aXff WTlf TYgXe FXTW =bhafX_ [Tf

  cebi\WXW g[X @T\_heX gb @haW MXe`\aTg\ba Hbg\VX,         Ca g[X T_gXeaTg\iX* Tg g[X\e

  W\fVeXg\ba* J_T\ag\YYf `Tl fXX^ gb XaYbeVX g[X gXe`f bY g[\f LXgg_X`Xag TaW

  Lg\ch_Tg\ba TZT\afg >XYXaWTagf Ybe abacTl`Xag bY g[X LXgg_X`Xag ;`bhag* Tg Tal

  g\`X ce\be gb g[X =bhegrf Xagel bY g[X @\aT_ DhWZ`Xag, >XYXaWTagf `Tl abg

  gXe`\aTgX g[\f LXgg_X`Xag TaW Lg\ch_Tg\ba \Y g[X LXgg_X`Xag ;`bhag \f abg cT\W \agb

  g[X ?fVebj ;VVbhag \a TVVbeWTaVX j\g[ o0,/ bY g[\f Lg\ch_Tg\ba,


        5,1     Ncba g[X ?YYXVg\iX >TgX* Tal TaW T__ eX`T\a\aZ \agXeXfg be e\Z[g bY

  >XYXaWTagf \a be gb g[X LXgg_X`Xag @haW* \Y Tal* f[T__ UX TUfb_hgX_l TaW YbeXiXe

  Xkg\aZh\f[XW, CY T__ bY g[X VbaW\g\baf fcXV\Y\XW \a o 5,/ [XeX\a TeX abg `Xg* g[Xa g[X

  Lg\ch_Tg\ba f[T__ UX VTaVX_XW TaW gXe`\aTgXW fhU]XVg gb o 5,3 [XeX\a* ha_Xff FXTW

  =bhafX_ TaW VbhafX_ Ybe >XYXaWTagf `hghT__l TZeXX \a je\g\aZ gb cebVXXW j\g[ g[X

  LXgg_X`Xag,


        5,2     >XYXaWTagf f[T__ [TiX g[X e\Z[g gb gXe`\aTgX g[X LXgg_X`Xag \a g[X

  XiXag g[Tg =_Tff GX`UXef j[b be j[\V[* chefhTag gb g\`X_l TaW iT_\W eXdhXfgf Ybe

  XkV_hf\ba Yeb` g[X =_Tff* `XXg g[X VbaW\g\baf fXg Ybeg[ \a T VbaY\WXag\T_


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  fhcc_X`XagT_ TZeXX`Xag (pLhcc_X`XagT_ ;ZeXX`Xagq) UXgjXXa g[X LXgg_\aZ JTeg\Xf,

  M[X Lhcc_X`XagT_ ;ZeXX`Xag* j[\V[ \f UX\aZ XkXVhgXW VbaVheeXag_l [XeXj\g[*

  f[T__ abg UX Y\_XW j\g[ g[X =bheg ha_Xff g[X =bheg bg[Xej\fX W\eXVgf be T W\fchgX

  Te\fXf UXgjXXa g[X LXgg_\aZ JTeg\Xf VbaVXea\aZ \gf \agXeceXgTg\ba be Tcc_\VTg\ba, CY

  fhU`\ff\ba bY g[X Lhcc_X`XagT_ ;ZeXX`Xag \f eXdh\eXW Ybe eXfb_hg\ba bY T W\fchgX

  be \f bg[Xej\fX beWXeXW Ul g[X =bheg* g[X LXgg_\aZ JTeg\Xf j\__ haWXegT^X gb [TiX g[X

  Lhcc_X`XagT_ ;ZeXX`Xag fhU`\ggXW gb g[X =bheg 37 .,60:, be Y\_XW haWXe fXT_,


        5,3    CY g[X Lg\ch_Tg\ba \f abg TccebiXW* g[X Lg\ch_Tg\ba \f gXe`\aTgXW be

  VTaVX_XW* be g[X ?YYXVg\iX >TgX bg[Xej\fX YT\_f Ybe Tal eXTfba gb bVVhe* g[Xa8


               (T)   P\g[\a Y\YgXXa (/3) VT_XaWTe WTlf TYgXe je\ggXa abg\Y\VTg\ba bY

  fhV[ XiXag \f fXag Ul VbhafX_ Ybe >XYXaWTagf be FXTW =bhafX_ gb g[X ?fVebj ;ZXag*

  g[X LXgg_X`Xag @haW (\aV_hW\aZ TVVehXW \agXeXfg)* _Xff Tal Hbg\VX TaW

  ;W`\a\fgeTg\ba ?kcXafXf be MTk ?kcXafXf j[\V[ [TiX X\g[Xe UXXa W\fUhefXW be TeX

  V[TeZXTU_X gb g[X LXgg_X`Xag @haW* f[T__ UX eXYhaWXW Ul g[X ?fVebj ;ZXag gb HXj

  Ie\XagT_ chefhTag gb je\ggXa \afgehVg\baf Yeb` >XYXaWTagfr VbhafX_, M[X ?fVebj

  ;ZXag be \gf WXf\ZaXX f[T__ Tcc_l Ybe Tal gTk eXYhaW bjXW gb g[X LXgg_X`Xag @haW

  TaW cTl g[X cebVXXWf gb HXj Ie\XagT_* TYgXe WXWhVg\ba bY Tal YXXf be XkcXafXf

  \aVheeXW \a VbaaXVg\ba j\g[ fhV[ Tcc_\VTg\ba(f) Ybe eXYhaW* chefhTag gb je\ggXa

  \afgehVg\baf Yeb` >XYXaWTagfr VbhafX_9


                                           11
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               (U)    HX\g[Xe g[X FXTW J_T\ag\YYf abe Tal bY g[X\e VbhafX_ f[T__ [TiX

  Tal bU_\ZTg\ba gb eXcTl Tal Hbg\VX TaW ;W`\a\fgeTg\ba ?kcXafXf be MTk ?kcXafXf

  T`bhagf W\fUhefXW* TaW Tal Hbg\VX TaW ;W`\a\fgeTg\ba ?kcXafXf be MTk ?kcXafXf

  T_eXTWl \aVheeXW* Uhg j[\V[ [TiX abg UXXa cT\W* f[T__ UX cT\W Ul g[X ?fVebj ;ZXag

  \a TVVbeWTaVX j\g[ g[X gXe`f bY g[X Lg\ch_Tg\ba ce\be gb g[X UT_TaVX UX\aZ eXYhaWXW9


               (V)    M[X LXgg_\aZ JTeg\Xf f[T__ eXiXeg gb g[X\e eXfcXVg\iX cbf\g\baf \a

  g[X F\g\ZTg\ba Tf bY ;ce\_ SSS* 0.0.9 TaW


               (W)    M[X gXe`f TaW cebi\f\baf bY g[X Lg\ch_Tg\ba* j\g[ g[X XkVXcg\ba

  bY g[\f o 5,3(W) TaW oo /,/+/,17* 0,6+0,/.* 4,1* 6,1* TaW 6,4 [XeX\a* f[T__ [TiX ab

  Yheg[Xe YbeVX TaW XYYXVg j\g[ eXfcXVg gb g[X LXgg_\aZ JTeg\Xf TaW f[T__ abg UX

  XaYbeVXTU_X* be hfXW \a g[\f F\g\ZTg\ba be \a Tal bg[Xe cebVXXW\aZ Ybe Tal checbfX*

  TaW Tal DhWZ`Xag be beWXe XagXeXW Ul g[X =bheg \a TVVbeWTaVX j\g[ g[X gXe`f bY

  g[X Lg\ch_Tg\ba f[T__ UX geXTgXW Tf iTVTgXW* 7=7. 9:8 <=7., Hb beWXe bY g[X =bheg* be

  `bW\Y\VTg\ba be eXiXefT_ ba TccXT_ bY Tal beWXe bY g[X =bheg* VbaVXea\aZ g[X J_Ta

  bY ;__bVTg\ba* be g[X T`bhag bY Tal TggbeaXlfr YXXf* XkcXafXf* TaW \agXeXfg TjTeWXW

  Ul g[X =bheg gb Tal bY g[X FXTW J_T\ag\YYfr VbhafX_ be g[X FXTW J_T\ag\YYf* f[T__

  bcXeTgX gb gXe`\aTgX be VTaVX_ g[\f Lg\ch_Tg\ba be Vbafg\ghgX ZebhaWf Ybe VTaVX__Tg\ba

  be gXe`\aTg\ba bY g[\f Lg\ch_Tg\ba,


        /'     ;NVHJPPFRJSXV >USYNVNSRV

                                              12
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        6,/    M[X LXgg_\aZ JTeg\Xf8 (\) TV^abj_XWZX g[Tg \g \f g[X\e \agXag gb

  Vbafh``TgX g[\f Lg\ch_Tg\ba9 TaW (\\) TZeXX gb VbbcXeTgX gb g[X XkgXag eXTfbaTU_l

  aXVXffTel gb XYYXVghTgX TaW \`c_X`Xag T__ gXe`f TaW VbaW\g\baf bY g[X Lg\ch_Tg\ba

  TaW gb XkXeV\fX g[X\e UXfg XYYbegf gb TVVb`c_\f[ g[X YbeXZb\aZ gXe`f TaW VbaW\g\baf

  bY g[X Lg\ch_Tg\ba,


        6,0    M[X LXgg_\aZ JTeg\Xf \agXaW g[\f LXgg_X`Xag gb UX T Y\aT_ TaW Vb`c_XgX

  eXfb_hg\ba bY T__ W\fchgXf UXgjXXa g[X` j\g[ eXfcXVg gb g[X F\g\ZTg\ba, M[X

  LXgg_X`Xag Vb`ceb`\fXf V_T\`f j[\V[ TeX VbagXfgXW TaW f[T__ abg UX WXX`XW Ta

  TW`\ff\ba Ul Tal LXgg_\aZ JTegl Tf gb g[X `Xe\gf bY Tal V_T\` be WXYXafX, M[X FXTW

  J_T\ag\YYf TaW >XYXaWTagf TZeXX g[Tg T__ LXgg_\aZ JTeg\Xf TaW g[X\e eXfcXVg\iX VbhafX_

  [TiX Vb`c_\XW j\g[ @XWXeT_ Kh_X bY =\i\_ JebVXWheX //, M[X DhWZ`Xag j\__ VbagT\a

  T Y\aW\aZ g[Tg* Whe\aZ g[X VbhefX bY g[X F\g\ZTg\ba* g[X LXgg_\aZ JTeg\Xf TaW g[X\e

  eXfcXVg\iX VbhafX_ Tg T__ g\`Xf Vb`c_\XW j\g[ g[X eXdh\eX`Xagf bY @XWXeT_ Kh_X bY

  =\i\_ JebVXWheX //, M[X LXgg_\aZ JTeg\Xf TZeXX g[Tg g[X LXgg_X`Xag ;`bhag TaW g[X

  bg[Xe gXe`f bY g[X LXgg_X`Xag jXeX aXZbg\TgXW \a ZbbW YT\g[ Ul g[X LXgg_\aZ JTeg\Xf*

  TaW eXY_XVg T fXgg_X`Xag g[Tg jTf eXTV[XW ib_hagTe\_l TYgXe Vbafh_gTg\ba j\g[

  Vb`cXgXag _XZT_ VbhafX_, M[X LXgg_\aZ JTeg\Xf eXfXeiX g[X\e e\Z[g gb eXUhg* \a T

  `TaaXe g[Tg fhV[ cTegl WXgXe`\aXf gb UX Tccebce\TgX* Tal VbagXag\ba `TWX Ul Tal

  bY g[X LXgg_\aZ JTeg\Xf \a Tal chU_\V Ybeh` eXZTeW\aZ g[X F\g\ZTg\ba* \aV_hW\aZ g[Tg

  g[X F\g\ZTg\ba jTf UebhZ[g be WXYXaWXW \a UTW YT\g[ be j\g[bhg T eXTfbaTU_X UTf\f,

                                           13
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        6,1    HX\g[Xe g[\f Lg\ch_Tg\ba abe g[X LXgg_X`Xag VbagT\aXW [XeX\a* abe Tal

  TVg cXeYbe`XW be WbVh`Xag XkXVhgXW chefhTag gb be \a Yheg[XeTaVX bY g[X

  Lg\ch_Tg\ba be g[X LXgg_X`Xag8 (\) \f be `Tl UX WXX`XW gb UX be `Tl UX hfXW Tf Ta

  TW`\ff\ba bY* be Xi\WXaVX bY* g[X iT_\W\gl bY Tal KX_XTfXW =_T\`* be bY Tal

  jebaZWb\aZ be _\TU\_\gl bY >XYXaWTagf be g[X\e eXfcXVg\iX KX_TgXW JTeg\Xf9 (\\) \f be

  `Tl UX WXX`XW gb UX be `Tl UX hfXW Tf Ta TW`\ff\ba bY* be Xi\WXaVX bY* Tal YTh_g

  be b`\ff\ba bY Tal bY >XYXaWTagf be g[X\e eXfcXVg\iX KX_TgXW JTeg\Xf \a Tal V\i\_*

  Ve\`\aT_ be TW`\a\fgeTg\iX cebVXXW\aZ \a Tal Vbheg* TW`\a\fgeTg\iX TZXaVl be bg[Xe

  ge\UhaT_9 (\\\) \f be `Tl UX WXX`XW gb UX be `Tl UX hfXW Tf Ta TW`\ff\ba* be

  Xi\WXaVX* g[Tg Tal V_T\` TffXegXW Ul g[X FXTW J_T\ag\YYf jTf abg iT_\W \a Tal V\i\_*

  Ve\`\aT_* be TW`\a\fgeTg\iX cebVXXW\aZ \a Tal Vbheg* TW`\a\fgeTg\iX TZXaVl be bg[Xe

  ge\UhaT_ be (\i) \f be `Tl UX WXX`XW gb UX be `Tl UX hfXW Tf Ta TW`\ff\ba bY* be

  Xi\WXaVX bY* g[X Tccebce\TgXaXff bY geXTg\aZ g[X F\g\ZTg\ba Tf T V_Tff TVg\ba Ybe Tal

  bg[Xe checbfX g[Ta g[X LXgg_X`Xag, >XYXaWTagf TaW-be g[X\e eXfcXVg\iX KX_TgXW

  JTeg\Xf `Tl Y\_X g[\f Lg\ch_Tg\ba TaW-be g[X DhWZ`Xag \a Tal TVg\ba g[Tg `Tl UX

  UebhZ[g TZT\afg g[X` \a beWXe gb fhccbeg T WXYXafX be VbhagXeV_T\` UTfXW ba

  ce\aV\c_Xf bY :0; 4=/3.,<,* Vb__TgXeT_ XfgbccX_* eX_XTfX* ZbbW YT\g[ fXgg_X`Xag*

  ]hWZ`Xag UTe be eXWhVg\ba* be Tal g[Xbel bY V_T\` ceXV_hf\ba be \ffhX ceXV_hf\ba be

  f\`\_Te WXYXafX be VbhagXeV_T\`,




                                           14
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        6,2    >XYXaWTagf f[T__ cebi\WX abg\VX haWXe g[X cebi\f\baf bY g[X =_Tff

  ;Vg\ba @T\eaXff ;Vg bY 0..3* 06 N,L,=, n /5/3* Tf Tccebce\TgX* Tg g[X\e bja

  XkcXafX,


        6,3    ?kVXcg Tf bg[Xej\fX cebi\WXW Ybe [XeX\a* T__ TZeXX`Xagf `TWX TaW

  beWXef XagXeXW Whe\aZ g[X VbhefX bY g[X F\g\ZTg\ba eX_Tg\aZ gb g[X VbaY\WXag\T_\gl bY

  \aYbe`Tg\ba f[T__ fhei\iX g[\f Lg\ch_Tg\ba,


        6,4    ;__ bY g[X ?k[\U\gf gb g[X Lg\ch_Tg\ba TeX `TgXe\T_ TaW \agXZeT_ cTegf

  [XeXbY TaW TeX Yh__l \aVbecbeTgXW [XeX\a Ul g[\f eXYXeXaVX,


        6,5    M[X Lg\ch_Tg\ba `Tl UX T`XaWXW be `bW\Y\XW ba_l Ul T je\ggXa

  \afgeh`Xag f\ZaXW Ul be ba UX[T_Y bY T__ LXgg_\aZ JTeg\Xf be g[X\e eXfcXVg\iX

  fhVVXffbef+\a+\agXeXfg,


        6,6    M[X Lg\ch_Tg\ba* g[X ?k[\U\gf TggTV[XW [XeXgb* TaW g[X Lhcc_X`XagT_

  ;ZeXX`Xag Vbafg\ghgX g[X Xag\eX TZeXX`Xag T`baZ g[X LXgg_\aZ JTeg\Xf [XeXgb, Hb

  eXceXfXagTg\baf* jTeeTag\Xf be \aWhVX`Xagf [TiX UXXa `TWX gb Tal cTegl

  VbaVXea\aZ g[X Lg\ch_Tg\ba* \gf ?k[\U\gf* be g[X Lhcc_X`XagT_ ;ZeXX`Xag bg[Xe g[Ta

  g[X eXceXfXagTg\baf* jTeeTag\Xf* TaW VbiXaTagf VbagT\aXW TaW `X`be\T_\mXW \a fhV[

  WbVh`Xagf,




                                            15
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        6,7    ?kVXcg Tf bg[Xej\fX cebi\WXW Ybe [XeX\a* XTV[ LXgg_\aZ JTegl f[T__ UXTe

  [\f* [Xe be \gf bja Vbfgf,


        6,/. FXTW =bhafX_* ba UX[T_Y bY g[X =_Tff* TeX Thg[be\mXW Ul g[X FXTW

  J_T\ag\YYf gb gT^X T__ Tccebce\TgX TVg\ba eXdh\eXW be cXe`\ggXW gb UX gT^Xa Ul g[X

  =_Tff chefhTag gb g[X Lg\ch_Tg\ba gb XYYXVghTgX \gf gXe`f TaW T_fb TeX Thg[be\mXW gb

  XagXe \agb Tal `bW\Y\VTg\baf be T`XaW`Xagf gb g[X Lg\ch_Tg\ba ba UX[T_Y bY g[X

  =_Tff j[\V[ g[Xl WXX` Tccebce\TgX,


        6,// ?TV[ VbhafX_ be bg[Xe JXefba XkXVhg\aZ g[X Lg\ch_Tg\ba be Tal bY \gf

  ?k[\U\gf ba UX[T_Y bY Tal cTegl [XeXgb jTeeTagf g[Tg fhV[ JXefba [Tf g[X Yh__

  Thg[be\gl gb Wb fb,


        6,/0 M[X Lg\ch_Tg\ba `Tl UX XkXVhgXW \a baX be `beX VbhagXecTegf, ;__

  XkXVhgXW VbhagXecTegf TaW XTV[ bY g[X` f[T__ UX WXX`XW gb UX baX TaW g[X fT`X

  \afgeh`Xag, ; Vb`c_XgX fXg bY XkXVhgXW VbhagXecTegf f[T__ UX Y\_XW j\g[ g[X =bheg,

  L\ZaTgheXf fXag Ul YTVf\`\_X be X+`T\_ f[T__ UX WXX`XW be\Z\aT_f,


        6,/1 M[X [XTW\aZf [XeX\a TeX hfXW Ybe g[X checbfX bY VbaiXa\XaVX ba_l TaW

  TeX abg `XTag gb [TiX _XZT_ XYYXVg,




                                           16
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        6,/2 M[X jT\iXe Ul baX cTegl bY Tal UeXTV[ \a g[\f Lg\ch_Tg\ba Ul Tal bg[Xe

  cTegl f[T__ abg UX WXX`XW T jT\iXe Ul Tal bg[Xe cTegl be T jT\iXe bY Tal bg[Xe

  ce\be be fhUfXdhXag UeXTV[ bY g[\f Lg\ch_Tg\ba,


        6,/3 M[X Lg\ch_Tg\ba f[T__ UX U\aW\aZ hcba* TaW \aheX gb g[X UXaXY\g bY* g[X

  fhVVXffbef TaW Tff\Zaf bY g[X LXgg_\aZ JTeg\Xf [XeXgb,


        6,/4 M[X =bheg f[T__ eXgT\a ]he\fW\Vg\ba j\g[ eXfcXVg gb \`c_X`XagTg\ba TaW

  XaYbeVX`Xag bY g[X gXe`f bY g[X Lg\ch_Tg\ba* TaW T__ LXgg_\aZ JTeg\Xf fhU`\g gb g[X

  ]he\fW\Vg\ba bY g[X =bheg Ybe checbfXf bY \`c_X`Xag\aZ TaW XaYbeV\aZ g[X

  LXgg_X`Xag X`UbW\XW \a g[X Lg\ch_Tg\ba TaW `TggXef eX_TgXW gb g[X LXgg_X`Xag,


        6,/5 JXaW\aZ TccebiT_ bY g[X =bheg bY g[X Lg\ch_Tg\ba TaW \gf ?k[\U\gf*

  bg[Xe g[Ta Ul TZeXX`Xag bY g[X LXgg_\aZ JTeg\Xf* T__ cebVXXW\aZf \a g[\f F\g\ZTg\ba

  f[T__ UX fgTlXW TaW g[X FXTW J_T\ag\YYf TaW T__ =_Tff GX`UXef f[T__ UX UTeeXW TaW

  Xa]b\aXW Yeb` cebfXVhg\aZ Tal bY g[X KX_XTfXW =_T\`f TZT\afg Tal bY g[X KX_XTfXW

  JXefbaf,


        6,/6 M[\f Lg\ch_Tg\ba* g[X ?k[\U\gf TggTV[XW [XeXgb* TaW g[X Lhcc_X`XagT_

  ;ZeXX`Xag f[T__ UX Vbaf\WXeXW gb [TiX UXXa aXZbg\TgXW* XkXVhgXW* TaW WX_\iXeXW*

  TaW gb UX j[b__l cXeYbe`XW* \a g[X LgTgX bY HXj DXefXl* TaW g[X e\Z[gf TaW

  bU_\ZTg\baf bY g[X LXgg_\aZ JTeg\Xf gb g[X Lg\ch_Tg\ba f[T__ UX VbafgehXW TaW XaYbeVXW



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  \a TVVbeWTaVX j\g[* TaW ZbiXeaXW Ul* g[X \agXeaT_* fhUfgTag\iX _Tjf bY g[X LgTgX bY

  HXj DXefXl j\g[bhg Z\i\aZ XYYXVg gb g[Tg LgTgXrf V[b\VX+bY+_Tj ce\aV\c_Xf,


        6,/7 M[\f Lg\ch_Tg\ba f[T__ abg UX VbafgehXW `beX fge\Vg_l TZT\afg baX cTegl

  g[Ta Tabg[Xe `XeX_l Ul i\eghX bY g[X YTVg g[Tg \g* be Tal cTeg bY \g* `Tl [TiX UXXa

  ceXcTeXW Ul VbhafX_ Ybe baX bY g[X LXgg_\aZ JTeg\Xf* \g UX\aZ eXVbZa\mXW g[Tg \g \f g[X

  eXfh_g bY Te`rf+_XaZg[ aXZbg\Tg\baf UXgjXXa g[X LXgg_\aZ JTeg\Xf* TaW g[X LXgg_\aZ

  JTeg\Xf [TiX Vbage\UhgXW fhUfgTag\T__l TaW `TgXe\T__l gb g[X ceXcTeTg\ba bY g[\f

  Lg\ch_Tg\ba,


        6,0. Hbg[\aZ \a g[X Lg\ch_Tg\ba* be g[X aXZbg\Tg\baf eX_Tg\aZ g[XeXgb* \f

  \agXaWXW gb be f[T__ UX WXX`XW gb Vbafg\ghgX T jT\iXe bY Tal Tcc_\VTU_X ce\i\_XZX be

  \``ha\gl* \aV_hW\aZ* j\g[bhg _\`\gTg\ba* TggbeaXl+V_\Xag ce\i\_XZX* ]b\ag WXYXafX

  ce\i\_XZX* be jbe^ cebWhVg cebgXVg\ba,




                                            2.
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